             EXHIBIT 9




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Benson v. Wal-Mart Stores East, L.P, --- F.4th ---- (2021)




                  2021 WL 4190222                                APPEAL FROM THE UNITED STATES DISTRICT
    Only the Westlaw citation is currently available.            COURT FOR THE DISTRICT OF MAINE, [Hon. Lance E.
     United States Court of Appeals, First Circuit.              Walker, U.S. District Judge]

    Margaret BENSON, Appellant-Plaintiff,                        Attorneys and Law Firms
                   v.                                            Guy D. Loranger for appellant.
        WAL-MART STORES EAST,
                                                                 Katherine I. Rand, with whom Daniel R. Strader and Pierce
             L.P., Appellee-Defendant.
                                                                 Atwood LLP were on brief, for appellee.

                        No. 20-1495                              Before Howard, Chief Judge, Thompson, Circuit Judge, and
                             |
                                                                 Gelpí,* District Judge.
                     September 15, 2021
                                                                 Opinion
Synopsis
Background: Former employee filed suit in state court            GELPÍ, District Judge.
against employer, claiming disability discrimination in
violation of Maine Human Rights Act (MHRA) and                    *1 This case, in federal court on the basis of diversity of
retaliation by firing her for engaging in activities protected   citizenship, 28 U.S.C. § 1332(a)(1)(c), involves ambiguous
under Maine Whistleblower Protection Act (MWPA) and              job requirements, unclear expectations, and continuous
related provisions of MHRA. Following removal based on           miscommunications between appellant Margaret Benson
diversity, the United States District Court for the District     (“Benson”) and appellee Wal-Mart Stores East, L.P. (“Wal-
of Maine, Lance E. Walker, J., 2020 WL 1669851, granted          Mart”). Based on our review of the district court record,
employer summary judgment. Employee appealed.                    we conclude the disputed factual evidence as adduced and
                                                                 the fair inferences therefrom reasonably support a case for
                                                                 disability discrimination under the Maine Human Rights Act
                                                                 and for retaliation under the Maine Whistleblower Protection
Holdings: The Court of Appeals, Gelpi, District Judge, sitting
                                                                 Act and the Maine Human Rights Act. Therefore, for the
by designation, held that:
                                                                 reasons explained below, we reverse the grant of summary
                                                                 judgment and remand for further proceedings consistent with
regular attendance was essential function of employee's job;
                                                                 this opinion.

employee was qualified individual with disability under
MHRA;
                                                                 I. Standard of Review
employer proffered legitimate non-disability based reason for
termination;                                                     We review the district court's grant of summary judgment
                                                                 in favor of Wal-Mart de novo. United States ex rel. Jones v.
fact disputes as to pretext precluded summary judgment on        Brigham & Women's Hosp., 678 F.3d 72, 83 (1st Cir. 2012).
disability discrimination claim;                                 Summary judgment is proper if Wal-Mart can demonstrate
                                                                 that “there is no genuine dispute as to any material fact and
employee established prima facie case of retaliation under       that [it] is entitled to judgment as a matter of law.” Fed. R.
MWPA and MHRA; and                                               Civ. P. 56(a). At this stage of the proceedings, we construe
                                                                 the record and all reasonable inferences from it in favor of
fact disputes as to pretext precluded summary judgment on        the party opposing the summary judgment motion, Benson.
retaliation claims.                                              Martínez v. Novo Nordisk Inc., 992 F.3d 12, 16 (1st Cir. 2021)
                                                                 (citing Rodríguez-Cardi v. MMM Holdings, Inc., 936 F.3d 40,
                                                                 46 (1st Cir. 2019)). Notwithstanding, “[e]ven in employment
Reversed and remanded.                                           discrimination cases where elusive concepts such as motive


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or intent are at issue, summary judgment is appropriate if the    Wal-Mart. The legal analysis in that case has no bearing upon
non-moving party rests merely upon conclusory allegations,        the case before us, but, as we will discuss later, Benson cites
improbable inferences, and unsupported speculation.” Brandt       Benson I as motivation for Wal-Mart's alleged retaliation.
v. Fitzpatrick, 957 F.3d 67, 75 (1st Cir. 2020) (quoting Ray v.
Ropes & Gray LLP, 799 F.3d 99, 116–17 (1st Cir. 2015)).           On October 14, 2016, with her first lawsuit still pending,
                                                                  Benson returned to work in another TAD position, as a
We present below all undisputed facts, relying both on the        People Greeter. Generally, People Greeters would welcome
district court's opinion and order as well as the parties'        customers when they arrived at the store, provide front-end
proposed statements of uncontested facts that are properly        security, ensure customer safety in the greeting area, respond
supported by evidence on the record. Reeves v. Sanderson          to electronic surveillances alarms, and provide customers
Plumbing Prod., Inc., 530 U.S. 133, 150, 120 S.Ct. 2097,          with directions. On the days when Benson was scheduled to
147 L.Ed.2d 105 (2000) (noting that under Rule 56, “the           work, her assigned shift time was from 6:00 a.m. to 2:00 p.m.
court should review the record as a whole”). Any genuinely        It was the practice of the store to have at least one People
disputed material fact shall also be detailed therein, where it   Greeter scheduled each day for each entrance while the store
is relevant to either party's argument.                           was open. If a People Greeter was absent, Wal-Mart tended to
                                                                  not replace them, so those functions went unfilled.

                                                                  Upon Benson's return to work, two things happened that
II. Background
                                                                  are important to her current claims. First, Benson informed
Benson's story is complicated, involving multiple lawsuits,       management at the Windham store that she would continue to
countless medical appointments, and a series of Wal-Mart          have regularly scheduled medical appointments for her work-
administrators. In order to provide the reader all relevant       related injury. In response, Nancy Little, a Wal-Mart store
information in a comprehensible manner, we begin with an          supervisor, assured her that “as long as [she] gave her notice
overview of the events that led to this case and then turn to a   [to the store's Personnel Coordinator] of when the time frame
more detailed description of the testimony, as needed.            was, that they would take care of it and make [her] schedule
                                                                  fit accordingly.” Second, Benson also learned of Wal-Mart's
                                                                  Attendance/Punctuality Policy-Maine (“Attendance Policy”),
                                                                  which had changed since Benson took a leave of absence
A. Overview
                                                                  earlier in the year.2 With those facts in mind, we turn to the
In February 2013, Benson began her employment at the Wal-         details of Wal-Mart's Policy and Benson's efforts to comply
Mart store in Windham, Maine, as a cashier. In October            with them while attending to her health needs.
2014, Benson—at the time a grocery reclamation associate
—suffered a piriformis injury while at work.1 The injury
prevented her from working and she took a leave of absence.       B. Wal-Mart's Attendance Policy
Initially, Wal-Mart refused to acknowledge her injury was
“work-related,” but eventually agreed that it was and offered     The Attendance Policy, effective October 2016 and applicable
Benson a Temporary Alternative Duty (TAD) position that           to Benson's claims, provides that it is understandable that
she accepted. Benson worked, apparently without incident          employees “may have to miss work on occasion. However,
from June 2015 when she returned, until April 2016 when she       regular and punctual attendance is a required and essential
took another leave of absence to cope with the side effects of    function of each associate's job.” The Attendance Policy
treatment for her injury.                                         expressly states that “excessive absences or incomplete
                                                                  shifts” may result in termination. It further points out that
 *2 Around the same time, in March 2016, Benson, through          “[w]hen possible, [an employee] should schedule time off
counsel, filed an action against Wal-Mart in the United           in advance to avoid negatively affecting other associates,
States District Court claiming discrimination for failure to      customers, and the company.”
accommodate related to this workplace injury. Benson v.
Wal-Mart Stores E., L.P., No. 16-cv-114 (DBH), 2017 WL            The Policy additionally states that “[a]n unauthorized absence
2729491 (D. Me. June 23, 2017) (“Benson I”). Ultimately,          may result from arriving late or leaving early, as well as
the district court in that case entered summary judgment for      missing entire scheduled shifts.”3 The Attendance Policy


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specifically defines “unauthorized absences” as “any time [an        either schedule her appointments at times when she was not
employee is] away from a scheduled shift for a reason that           scheduled to work or only miss time necessary for traveling
is not [a]uthorized or approved by [a] supervisor or manager,        to and from a workers' compensation medical appointment.
unless [the employee] use[s] an income replacement benefit
(such as PTO [or Paid Time Off], Sick Time or Personal               Kathy Burns-Egan, the store's Personnel Coordinator,
Time).” Too many unauthorized absences could result in an            (“Coordinator Burns-Egan”) was specifically asked, during
employee being fired.                                                a deposition for this litigation, whether an absence, due to
                                                                     complications in connection with medication for a work-
 *3 On the other hand, the Attendance Policy also provides           related injury, would be excused under the Attendance Policy
a list of absences that are considered “authorized,” and,            as a “workers' compensation” absence. Coordinator Burns-
therefore, per the Policy, need not be “approved by [a]              Egan responded that she “would not be able to answer
supervisor or manager.”4 Among those were “[w]orkers'                that [because she] really [did not] know.” Coordinator
compensation” absences. The “Responsibility to Notify                Burns-Egan acknowledged during her deposition “not
Management” section of the Attendance Policy specifies that          remember[ing]” or “recall[ing]” whether the Windham store
an employee “must make every effort to report absences or            had any specific policy that employees must follow when
late arrivals (tardies) at least one hour prior to [the] scheduled   notifying management about absences relating to a workers'
start time, unless it would be unreasonable to expect [the           compensation injury, but noted that it “[s]eems like there
employee] to report the absences due to circumstances outside        should have been [one].” When asked if she was aware of any
of [the employee's] control.” To notify management of an             written policy requiring any additional written verification
absence or late arrival, an employee must report by either           with regard to workers' compensation absences or tardies,
calling a designated 1-800 number or using the “Wal-Mart             Coordinator Burns-Egan responded that “I don't recall it
                                                                     written. However, it was expected, so I'm not sure if it was
One” website.5 Benson understood, as she had discussed with
                                                                     written somewhere besides on [the Attendance Policy].”
Wal-Mart's management, that she could either provide verbal
notice or make store management aware—via a written note
—of her workers' compensation related absences. The term
“workers' compensation,” which is central to Benson's case,          C. Benson's Absences
                                          6
is not defined in the Attendance Policy.
                                                                      *4 Once Benson returned to work as a People Greeter,
                                                                     attendance issues allegedly persisted. According to Wal-
The Windham store manager, Susan Bradstreet
                                                                     Mart's records, between October 14, 2016, and December 12,
(“Bradstreet” or “Manager Bradstreet”), interpreted “workers'
                                                                     2016, Benson was absent, left early, or arrived late to work
compensation” to refer to “leaves of absence” authorized
by Wal-Mart's third-party leave administrator for incapacity         on twelve occasions.8 Benson missed a full—day shift on
due to a workers' compensation related injury and/or                 October 18, October 20, October 21, October 28, November
time an associate was required to miss work in order to              5, November 7, November 12, and November 28. She left
attend a medical appointment or receive treatment for a              more than 120 minutes early from her scheduled shifts on
work-related injury. Manager Bradstreet did not consider             November 3, November 17, November 26, and December
time missed beyond that required to attend a medical                 8, 2016. In its internal recording system, Wal-Mart coded
appointment in connection with a workers' compensation               these absences, at least initially, as “unauthorized” under the
injury to be authorized under the Attendance Policy. Manager         Attendance Policy.
Bradstreet expected associates who missed work due to a
workers' compensation medical appointment to be able to              According to Benson, she partially or entirely missed a
                                                                     shift due to medical appointments to treat her work-related
produce documentation of such appointment upon request.7
                                                                     injury on October 18 and 20 as well as November 3 and
Also, Bradstreet expected associates to schedule workers'
                                                                     December 8. On October 21 and 28 and November 5, 7, 12,
compensation appointments during times when they were not
                                                                     26, and 28, she missed her entire shift or left early due to
scheduled to work; and, when this was not possible, to only
                                                                     illness or “bad reactions” (mostly upset stomach) caused by
miss so much of their shifts as necessary to travel, attend,
                                                                     medications prescribed for her work-related injury. As to the
and return from the appointment. On the other hand, Benson
                                                                     November 17th absence, the parties stipulated that Benson
stated that Wal-Mart did not inform her that she should
                                                                     used “vacation time.”


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                                                                  a satisfactory explanation for her absences. If Benson did not
Regarding the October 18 and 20 absences, Wal-Mart agrees         provide a satisfactory explanation, Manager Bradstreet would
that Benson informed store management of her appointments         have proceeded to terminate her for violating the Attendance
ahead of time. Regarding the November 3 and December 8            Policy. Benson was absent from most of her shifts that week
absences, Benson contends she gave notice to management           and, hence, the two were unable to meet.
prior to her appointment, but Wal-Mart disputes this fact.
The record reflects that Benson gave advance notice for the        *5 The next week, on December 17, 2016, Benson and
November 3 absence, but did not provide notice for the            Manager Bradstreet finally met. Benson explained that nearly
December 8 absence. On December 8, Benson had arrived to          all absences upon returning in October 2016 were due to
work on time but left early and missed four hours of work time    her workers' compensation injury. She attributed the absences
for a one-hour medical appointment. At the time, Benson had       from December 12 and 16 to her car breaking down as result
not offered Wal-Mart an explanation for this departure and, at    of a snowstorm. The record reflects that Benson requested
her deposition in this case, could not explain why she missed     and was approved to use PTO time on these dates. As to
four hours of work.                                               the December 15 absence, Benson explained that she had a
                                                                  medical appointment related to her workers' compensation
As to the October 21 and 28 and November 5, 7, 12, 26, and 28     injury. Wal-Mart contests whether she gave prior notice about
absences, Benson stated during her deposition that she gave       the appointment.
notice to management prior to each one. Wal-Mart contests
that she followed the proper procedure for notifying these        Manager Bradstreet prepared a memorandum on December
absences and whether she, in fact, gave advance notice for        17, 2016, following her meeting with Benson. In it, she noted
missing her shift or leaving early. Wal-Mart also states that     they had discussed Wal-Mart's Attendance Policy because
Benson informed management that the absences were related         Benson seemed to be confused about how to properly notify
to having the flu. Benson clarified in her deposition testimony   workers' compensation absences. The memorandum also
that the November 5 absence was not because she had the           details that Benson expressed concern about receiving “mixed
flu but rather because of a “bad reaction” to medication          messages” from her workers' compensation attorney and
prescribed for her workers' compensation injury.                  Wal-Mart's management about required expectations when
                                                                  informing supervisors about an absence due to a workers'
Overall, Wal-Mart does not dispute, for the purposes of           compensation medical appointment. When Bradstreet asked
summary judgment, that the reasons Benson eventually              Benson to provide medical documentation to support these
provided for these absences were true (i.e., Wal-Mart does        absences, she indicated she could not do so during the
not contest that Benson did indeed attend a chiropractor          meeting because her documentation was at home. At the
appointment when she claimed she did). However, Wal-              meeting, Benson further complained about several aspects
Mart argues that, at the time of Benson's termination,            of how Wal-Mart was generally handling issues concerning
management considered the absences to be “unauthorized,”          her workers' compensation injury. Specifically, Manager
because Benson had not properly notified store management         Bradstreet detailed in the memorandum that:
of the reason for an absence, because Benson never submitted
proper documentation of treatment for her work-related               She complained about not being [able] to go [to] physical
injury, or because the proffered reason for an absence had not       therapy because [Wal-Mart] would not approve it even
met the Attendance Policy criteria for an excused absence.           though their independent doctor recommended she go. She
                                                                     has been waiting since June for therapy. She complained
                                                                     about her medication and not being able to get it filled
                                                                     however, when she takes it[,] it causes her to “lose control
D. Communication with Benson about Absences                          of her bowels and crap her pants” so she [cannot] be at
                                                                     work.
On December 12, 2016, Manager Bradstreet first noticed,
                                                                  The memo continues that after Benson expressed this
while reviewing all associates' absences, that Benson had an
                                                                  frustration, Bradstreet informed her that “going forward she
“excessive number of occurrences” since returning to work
                                                                  needs to communicate to a member of management when
in October 2016. Bradstreet arranged to meet with Benson to
                                                                  she has appointments for [workers' compensation] ahead of
discuss these absences. According to Bradstreet, the purpose
                                                                  time as soon as she is aware of the appointment.” She also
of the meeting was to give Benson the opportunity to provide
                                                                  stressed that, when calling in, Benson “needs to speak to a


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member of management about why she is not at work that             3 and arrived late on January 5. According to the record,
day.” Bradstreet stated, in a sworn statement prepared for this    Benson informed Wal-Mart—via e-mail and after the fact—
litigation, that in light of Benson's explanation, Bradstreet      that the January 3 absence was because of “bad reactions” to
held off terminating her.                                          medication prescribed for the workers' compensation injury
                                                                   and that on January 5 she was absent because of a workers'
During her deposition, Benson was asked to review and              compensation medical appointment.
comment on Manager Bradstreet's memorandum. Benson
recalled feeling “very uneasy” during the meeting because          On January 9, Coordinator Burns-Egan spoke to Benson
she got “constant smirks” and “reactions” for not “saying          about her January 5 absence. Benson explained that her
what [Bradstreet] wanted.” Benson acknowledged not being           doctor had ordered additional testing after her January 5
able to provide precise answers as to each absence since she       appointment, which caused her to be late. She also informed
did not have her absence sheet in front of her. She further        management about an upcoming medical appointment on
explained that to avoid giving Bradstreet “false information,”     January 13 and that, due to the appointment, she expected
she instead gave Bradstreet permission to contact her              to arrive late to work. On January 13, 2017, upon arriving
workers' compensation attorney who had documentation for           to the store after the appointment, Benson sent an e-mail to
each medical appointment. As to complaining about the              Bradstreet and Coordinator Burns-Egan stating that: “Today
handling of her workers' compensation injury, Benson did not       I gave Kathie a copy of my M[-]1 form from Dr. Parris
remember her exact words, but recalled generally expressing        and asked for assistance in my time as there was an error.
that the company “kept delaying me with everything.”               I punched in at 9:23, went to lunch at 9:25 and returned
Benson explained that she “couldn't get a straight answer”         from lunch at 10:24. This is in all relation to workers' comp
about workers' compensation questions out of anyone from           injury.”9 The “error” of which Benson speaks appears to
management; specifically, how to time clock “the way               be the coding of absences as “unauthorized” where Benson
[they] wanted.” Finally, Benson indicated that, following this     thought the absences ought to be authorized. In response to the
meeting, she still did not understand what information store       message, Coordinator Burns-Egan and Manager Bradstreet
management required from her or if they were going to              met with Benson in-person and discussed her late arrivals.
request information through her attorney. Benson expressed         The record contains divergent versions as to what precisely
that after the meeting, she felt that “pretty much ... the         occurred in the meeting.
harassment started.”
                                                                   According to Benson, she was following “Wal-Mart's
                                                                   protocol” and not going to work until after her medical
E. More Communication and Harassment Allegations                   appointment (at 8:30 a.m.) although her shift was scheduled
                                                                   two hours before the same (at 6:00 a.m.). Benson testified that
 *6 On December 20, 2016, Benson sent an e-mail to                 Bradstreet was “very nasty,” “rude,” and even “screamed” at
Manager Bradstreet asking her to provide the dates on which        her. At all times, Benson insisted that she always followed the
Wal-Mart marked Benson as absent or tardy, so that Benson          store's notice protocol.
could further investigate the matter. This e-mail was in
response to Bradstreet's inquiry regarding Benson's medical        According to Bradstreet, she asked Benson whether Benson
records during the December 17 meeting. After receiving the        was paid to sit on a couch from 6:00 a.m. to 7:30 a.m., even
list of absences and tardies, Benson prepared a list identifying   though she was scheduled to work. Benson responded that
the reason for each absence and sent it to her workers'            it “cost too much in gas” to go to work first, then to her
compensation attorney. Benson expected that her workers'           medical appointment, and return to work, so she stayed home
compensation attorney would forward this list to Wal-Mart's        and “got ready” for work, per her attorney's instructions.
legal counsel and believed this did happen. The record lacks       When the meeting concluded, Bradstreet expressed to Benson
clear evidence about what action Benson's attorney took or         “significant concern” regarding her absences and how she
what happened to this particular list.                             was missing more days than necessary. As a result, the
                                                                   January 5 and 13 absences were coded as “conditional status”
Benson's meeting with Bradstreet and subsequent                    pending Benson's production of medical documentation,
communication did not change the attendance issues. By early       presumably meaning these absences were conditionally
January 2017, Benson had missed a full shift on January            authorized.


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                                                                  On February 10, 2017, Benson arrived late for work due
On January 19, Benson and Bradstreet met again to further         to a workers' compensation medical appointment. On this
discuss Benson's absences and medical documentation. The          occasion, she did not provide advance notice, but rather
next day, Benson sent an e-mail to Market Human Resources         gave Coordinator Burns-Egan the medical record of her
Manager Wayne Gottwald (“HR Manager Gottwald”) and                appointment upon her arrival. On February 16, 2017, Benson
Coordinator Burns-Egan indicating that:                           was absent from her shift. She says that, using the web-based
                                                                  call-in procedure, she reported that said absence was due to
    *7 Because of the work injury and because of the actions      snow.
   that were taken by Susan Bradstreet numerous times
   yesterday, January 19th, I am feeling more and more that       Manager Bradstreet consulted with HR Manager Gottwald
   I am feeling harassed. If you need a further explanation, I    regarding Benson's termination. He declined to support the
   or my attorney can respond. The harassment needs to stop.      termination and instead referred the decision to Wal-Mart's
   It is illegal and unfair.                                      legal counsel because of her previous lawsuit, Benson I.
In their depositions, HR Manager Gottwald and Coordinator         Specifically, HR Manager Gottwald testified that: “I was
Burns-Egan each admitted that an e-mail of this nature,           asked if I would be willing to support terminating her because
according to Wal-Mart's policy, would have required               she had exceeded the absence number that was allowed by
immediate action and would have initiated an investigation        the company. And as I also recall, I did not approve the
into any possible acts of discrimination or retaliation. HR       termination at that time.” When asked why he did not approve
Manager Gottwald explained that if he had been made               the termination, he stated that “[b]ecause it was in the hands
aware of this e-mail, he would have had the responsibility        of the legal team and it was not my decision to make.”
to gather facts, provide these to Wal-Mart's ethics team,         Furthermore, when questioned who made the decision to
and render a determination if further investigation was           terminate Benson, HR Manager Gottwald explained that “I
needed. However, the record contains no evidence that             believe it was made at the legal level either -- I don't know
anyone at Wal-Mart actually took action concerning Benson's       if it was made by the [Wal-Mart] attorney or the home office
discrimination complaint. At their depositions, neither HR        corporate attorney.”
Manager Gottwald nor Coordinator Burns-Egan recalled
receiving this e-mail. Similarly, Manager Bradstreet said she      *8 On February 18, 2017, Wal-Mart terminated Benson. In
was unaware of the e-mail until the day her deposition was        the “Separation Notice” Manager Bradstreet documented the
taken as part of discovery in this case.                          alleged basis for the termination as follows:

                                                                    Margaret has been repeatedly asked to communicate
                                                                    absences and tardies to store management. She has chosen
F. More Absences and Benson's Firing
                                                                    not to do this. She is being terminated for 21 attendance
On January 26, 2017, Benson arrived late to work because of         exceptions; policy allows for 9.
a medical appointment related to her workers' compensation
injury. On or about this date, she submitted a medical form
indicating that she could only work every other day because       G. District Court Proceedings
of her workers' compensation injury. On January 31, 2017,
Wal-Mart adjusted Benson's schedule so that she would work        Following her termination, in November 2018, Benson sued
only every other day, consistent with her doctor's restriction.   Wal-Mart in state court alleging disability discrimination
                                                                  and retaliation under Maine state law. Benson argued that,
On February 8, 2017, Benson was absent from her shift.            pursuant to the Maine Human Rights Act (“MHRA”), 5
Using the web-based platform, she informed the store that         M.R.S. § 4572, Wal-Mart discriminated against her based on
she would miss work due to a snowstorm. Benson requested          medical disability and terminated her because of a workers'
her absence to be covered by her PTO, which appears to be         compensation injury. She further asserted that her firing
permitted by the Attendance Policy's terms. In her deposition,    occurred in retaliation for engaging in activities protected
Benson stated that because she had to shovel snow that day,       under the Maine Whistleblower Protection Act (“MWPA”),
her workers' compensation injury was aggravated.                  Me. Rev. Stat. Ann. tit. 26, § 833(1)(B), and related provisions
                                                                  of the MHRA.



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                                                                   Med. Servs., Inc., 707 F.3d 108, 115 n.12 (1st Cir. 2013)
Following removal of the case to federal district court,           (“[D]isability-related claims under the MHRA are construed
discovery, and motions practice, the district court issued         and applied along the same contours as the [Americans
an order granting summary judgment in Wal-Mart's favor             with Disabilities Act (ADA)]”) (internal quotation marks and
concluding that Benson “failed to generate a genuine issue         citations omitted).
of material fact concerning the first element of her disability
discrimination claim.” Benson v. Wal-Mart Stores East, L.P.         *9 In cases such as the present, the plaintiff must establish
(“Benson II”), No. 19-cv-41 (LEW), 2020 WL 1669851, at *6          a prima facie case of discrimination, and, if satisfied, the
(D. Me. Apr. 3, 2020). Specifically, regarding the disability      burden shifts to the defendant to articulate a legitimate, non-
discrimination claim, the district court ruled that Benson's       discriminatory reason for the action. Ultimately, the plaintiff
argument suffered from a “fatal flaw” because she failed           must come forward with evidence of pretext. See Collazo-
to show she is a “qualified individual” under MHRA. Id.            Rosado v. U.P.R., 765 F.3d 86, 92 (1st Cir. 2014).
at *5. To arrive at this conclusion, it analyzed whether she
could “perform the essential functions of her job” and if
not, whether “she identified any reasonable accommodation
                                                                   1. Prima Facie Case of Discrimination
that would enable her to perform those functions[.]” Id. The
district court held that the “need for attendance [was] self-      Mirroring the ADA, to establish a prima facie case of
evident” and, thus, an essential function of the People Greeter    disability discrimination under MHRA, Benson must show
job, and that there was no evidence to support any reasonable      that: “(1) [she] has a disability; (2) [she] is otherwise
accommodation that would have allowed Benson to attend             qualified, with or without reasonable accommodations, to
work. Id. at *6. As to the retaliation claim, the district court   perform the essential functions of [her] job; and (3) [her]
concluded Benson failed to adduce sufficient proof to show         employer adversely treated [her] based in whole or in part
causation between the proffered protected activities and her       on [her] disability.” Daniels v. Narraguagus Bay Health Care
termination and whether Wal-Mart's explanation for Benson's        Facility, 45 A.3d 722, 726 (Me. 2012). This stage of the case
termination was pretextual. Id. at *8.                             is not supposed to be burdensome. Lockridge v. Univ. of Me.
                                                                   Sys., 597 F.3d 464, 470 (1st Cir. 2010) (noting that prima facie
This appeal followed.                                              discrimination inference requires only a “modest” showing);
                                                                   Simas v. First Citizens' Fed. Credit Union, 170 F.3d 37, 44
                                                                   (1st Cir. 1999) (noting that initial prima facie requirements
III. Discussion                                                    are not especially “onerous” (quoting Brennan v. GTE Gov't
                                                                   Sys. Corp., 150 F.3d 21, 26 (1st Cir. 1998))).
On appeal, Benson posits that the district court erred in
finding, as a matter of law, that she was not a “qualified         There is no dispute that Benson has a disability (required
individual” under MHRA and failed to establish the elements        by the first element) and that she was eventually fired
of her retaliation claim, pursuant to MHRA and MWPA.               (the adverse treatment from the third element). The central
We begin with addressing whether summary judgment was              question, the parties and the district court agree, is about the
appropriate on Benson's disability discrimination claim and        second element—is Benson qualified for the job? Pursuant
then turn to her retaliation claims.                               to the MHRA, a “qualified individual with a disability”
                                                                   is defined as “an individual with a physical or mental
                                                                   disability who, with or without reasonable accommodation,
                                                                   can perform the essential functions of the employment
A. Disability Discrimination
                                                                   position that the individual holds or desires.” Me. Rev. Stat.
The MHRA provides that “[t]he opportunity for an individual        Ann. tit. 5, § 4553(8-D). We thus focus our analysis on
to secure employment without discrimination because of ...         whether attendance is an “essential function[ ]” of the People
physical or mental disability ... is recognized as and declared    Greeter job and then turn to whether Benson can perform that
to be a civil right.” Me. Rev. Stat. Ann. tit. 5, § 4571. The      function with a “reasonable accommodation.”
Maine Law Court recognizes that “[f]ederal law guides [its]
construction of the MHRA.” Cookson v. Brewer Sch. Dep't,
974 A.2d 276, 281 (Me. 2009); see also Kelley v. Corr.


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                                                                   § 1630.2(n)(3)), without which the district court could not
                                                                   properly analyze the essential-function question using those
Is Attendance an Essential Function of the Job?
                                                                   factors we have found to be important.
An essential function is “fundamental” to the position in
question. Sepúlveda-Vargas v. Caribbean Rests., LLC, 888           As to Benson's first argument, there is a difference between
F.3d 549, 553 (1st Cir. 2018) (quoting Kvorjak v. Maine,           an “essential job” and an “essential function” of a given job.
259 F.3d 48, 55 (1st Cir. 2001)). “The term does not               Wal-Mart may not consider the People Greeter position as
include ‘marginal’ tasks, but may encompass ‘individual or         an “essential job,” as some parts of the record reflect that
idiosyncratic characteristics’ of the job.” Id. (quoting Ward      the position often went unfilled, but this does not imply
v. Mass. Health Res. Inst., Inc., 209 F.3d 29, 34 (1st Cir.        that “attendance” fails to be an “essential function” of this
2000)). When determining whether a function is “essential,”        job. Even if Wal-Mart scheduled more than one People
we consider factors such as the written requirements or            Greeter to work at each entrance, as Benson says it did, that,
description of the job and the consequences of not requiring       on its own, appears to show that Wal-Mart valued having
the function. 29 C.F.R. § 1630.2(n)(3); accord Ward, 209 F.3d      People Greeters present in the store, necessitating attendance.
at 34. We are not tasked with second-guessing an employer's        Benson's second argument, that there was no evidence that
legitimate business judgment about what is required of             Wal-Mart considered attendance to be an essential function
its employees, but we will consider whether the employer           of the People Greeter role, is similarly unsupported by the
actually enforces this requirement of its employees or merely      record. This claim ignores the text of the Attendance Policy
pays it lip service during litigation. See Gillen v. Fallon        which says that “regular and punctual attendance is a required
Ambulance Serv., Inc., 283 F.3d 11, 25 (1st Cir. 2002); see        and essential function of each associate's job.” See Jones, 679
also Jones v. Walgreen Co., 679 F.3d 9, 14 (1st Cir. 2012)         F.3d at 14; see also 29 C.F.R. § 1630.2(n)(3).
(noting that courts give a “significant degree of deference to
an employer's own business judgment” about the necessities         Above all, Benson cannot perform any of the functions of
of a given job). Of particular relevance here, we have noted       a People Greeter outside of the hours or location assigned
that regular attendance “is an essential function of any job.”     by Wal-Mart and so, showing up is an essential function of
Colón-Fontánez v. Municipality of San Juan, 660 F.3d 17,           that job. See Ward, 209 F.3d at 35-36; see also Tyndall v.
33 (1st Cir. 2011) (internal quotation marks omitted); accord      Nat'l Educ. Ctrs., Inc. of Cal., 31 F.3d 209, 213-14 (4th Cir.
EEOC v. Ford Motor Co., 782 F.3d 753, 761 (6th Cir. 2015)          1994) (holding that attendance during assigned class times is
(“That general rule—that regularly attending work on-site is       an essential function of job as a teacher).
essential to most jobs, especially the interactive ones—aligns
with the text of the ADA.”).
                                                                   Can Benson Perform the “Essential Function” of Attendance
 *10 Benson argues the record permits the conclusion that          with a Reasonable Accommodation?
regular attendance is not an essential function of the People
Greeter job, which is all Benson would need at this stage of       Having determined that attendance is an essential function
the litigation to survive summary judgment. In support of this     of the People Greeter position, we consider whether Benson
argument, Benson notes that, in its briefing before the district   could perform that function (that is, attend work) with a
court, Wal-Mart only cited two facts in support of the idea that   reasonable accommodation. The ADA requires an employer
attendance is an essential function of this job: (1) Wal-Mart      “to make ‘reasonable accommodations to the known physical
only scheduled one People Greeter to work at each entrance         or mental limitations of an otherwise qualified individual
at a time and (2) therefore, if that People Greeter was absent,    with a disability who is an applicant or employee, unless
the People Greeter's tasks went unfulfilled. Benson contends       [the employer] can demonstrate that the accommodation
that these related facts are disputed and are insufficient as      would impose an undue hardship on [its] operation of the
matter of law to support a holding that regular attendance         business.’ ” Ortiz-Martínez v. Fresenius Health Partners, PR,
is not an essential function of this job. Further, as Benson       LLC, 853 F.3d 599, 604 (1st Cir. 2017) (quoting 42 U.S.C.
sees it, Wal-Mart submitted no evidence of “written job            § 12112(b)(5)(A)). To prevail in her claim, Benson bears
descriptions, consequences of not requiring the function,          the burden of showing that (1) she has made a sufficient
work experience of past incumbents, and work experience of         request of accommodation, (2) the accommodation would
current incumbents,” Ward, 209 F.3d at 34 (citing 29 C.F.R.        enable her to perform the essential functions of her job, and


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(3) the accommodation is facially reasonable. Echevarría v.        She argues that this reason is pretextual, positing that if her
AstraZeneca Pharm. LP, 856 F.3d 119, 127 (1st Cir. 2017).          absences were authorized by the terms of the Attendance
                                                                   Policy, and, thus, she indeed complied with the written
There is no credible debate that Benson requested an               and unwritten Attendance Policy, then her termination for
accommodation. Upon her return from leave in October of            excessive unexcused absences was pretextual.
2016, Benson informed management that she would have
regularly scheduled medical appointments for her work-             “[T]here is no mechanical formula for finding pretext.” Che
related injury and Supervisor Little told Benson that “as long     v. Mass. Bay Transp. Auth., 342 F.3d 31, 39 (1st Cir. 2003)
as [she] gave her notice [to the store's Personnel Coordinator]    (quotation marks and citations omitted). However, we have
of when the time frame was, that they would take care of it        noted that “[o]ne way to show pretext is through ‘such
and make [her] schedule fit accordingly.”                          weaknesses, implausibilities, inconsistencies, incoherencies,
                                                                   or contradictions in the employer's proffered legitimate
Nor is there any reasonable argument that authorizing some         reasons for its action that a reasonable factfinder could
absences or tardiness would not enable Benson to show              rationally find them unworthy of credence and with or
up the rest of the time. Wal-Mart argues that Benson               without the additional evidence and inferences properly
fails to show “that [accommodating] her poor attendance            drawn therefrom infer that the employer did not act
would make it possible for her to heal, to adjust her              for the asserted non-discriminatory reasons.’ ” Billings v.
medication in order to better control her pain, or to accomplish   Town of Grafton, 515 F.3d 39, 55–56 (1st Cir. 2008)
anything else that would enable her to come to work as             (citations and alteration omitted). The record contains enough
scheduled.” This, however, misses the point of Benson's            facts (however disputed) that make summary judgment
sought accommodation, which is akin to a modified work             inappropriate on these claims.
schedule where she is excused from working when her
disability necessitates treatment. Indeed, a modified work         Benson puts forward evidence that most of her absences
schedule is a classic reasonable accommodation, considered         should have been coded as “authorized” because they were
by the ADA. 42 U.S.C. § 12111(9)(B).                               related to her workers' compensation injury and further
                                                                   followed what she understood to be Wal-Mart's policy for
 *11 The decisive factor ultimately is whether Benson's            notifying management of such absences. Two grey areas in
requested accommodation is “facially reasonable.” See              the record support Benson's pretext argument and preclude
Echevarría, 856 F.3d at 127. Wal-Mart makes an                     summary judgment for Wal-Mart.
understandable point that it needs People Greeters to show
up in order to do their jobs and that Benson cannot                First, it is at best unclear as to whether an illness
always do that. However, more persuasive than Wal-Mart's           and side-effects from medications prescribed for treating
arguments on appeal is Wal-Mart's own Attendance Policy,           a workers' compensation injury could be excused under
which says that any tardiness or absence related to workers'       the Attendance Policy. As per Coordinator Burns-Egan's
compensation is permitted. Further, the Attendance Policy          deposition testimony, this material fact can neither be
also explicitly considers any missed time due to a “reasonable     confirmed or denied. When questioned about the matter,
accommodation” to be permitted as well.                            Coordinator Burns-Egan responded that she “would not be
                                                                   able to answer that [because she] really [did not] know” if an
Mindful that the prima facie case is not difficult to make         illness related to side-effects from a workers' compensation
out, we conclude that Benson has done enough and so the            injury medications would be excused under the Attendance
burden shifts to Wal-Mart to articulate a legitimate non-          Policy. Whether store management even understood the
discriminatory reason for Benson's termination.                    contours of the policy upon which it based its termination of
                                                                   Benson is hence disputed.

                                                                   Second, the record is, at best, murky as to whether
2. Legitimate Non-Discriminatory Reason and Pretext
                                                                   Benson was indeed aware of Wal-Mart's unwritten job
Benson appears to agree that Wal-Mart's proffered reason for       expectations, if they existed at all, regarding documentation
her termination—excessive unexcused absences—is, on its            of worker's compensation treatment or obtaining permission
face, a legitimate non-discriminatory reason for her firing.       from management before missing a shift. Similarly, as per



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Coordinator Burns-Egan's deposition testimony, she did “not       “intermittent leave” as Wal-Mart advanced. The record does
remember” nor “recall” whether the Maine Windham store            not contain evidence that Benson ever made such a request as
had a particular policy as to this material fact, even though     Wal-Mart so characterized.11
she acknowledged that “there should have been [one].”

 *12 The record as a whole inures to Benson's benefit,
helping her point out the “implausibilities, inconsistencies,     B. Retaliation
incoherencies, or contradictions,” Billings, 515 F.3d at
                                                                   *13 Under both MHRA and MWPA, Benson has to establish
55, in Wal-Mart's proffered reason for her termination.
                                                                  that: (1) she engaged in protected activity; (2) she suffered a
It is impossible to unequivocally conclude that Wal-Mart
                                                                  materially adverse action or was adversely affected, and (3)
internally established that Benson in fact exceeded the store's
                                                                  there was a causal connection between the protected activity
allowed number of authorized absences, which casts enough
                                                                  and the adverse action. See Brady v. Cumberland Cty., 126
doubt in Benson's favor.
                                                                  A.3d 1145, 1150-51 (Me. 2015); Ramsdell v. Huhtamaki, Inc.,
                                                                  992 F. Supp. 2d 1, 20 (D. Me. 2014). When reviewing Maine
Viewing all of these facts in the light most favorable to
                                                                  MWPA claims, we “collapse the more intricate McDonnell
Benson, the record contains enough to generate genuine
                                                                  Douglas framework and, in a seamless inquiry, ‘recognize any
issues of material fact insofar as the reason proffered for
                                                                  evidence that the employer had a lawful reason for the adverse
Benson's termination being pretextual. This is all Benson
                                                                  action taken against the employee, and any evidence that the
needs at this point.
                                                                  proffered reason is merely a pretext.’ ” Theriault v. Genesis
                                                                  HealthCare LLC, 890 F.3d 342, 350 (1st Cir. 2018) (quoting
                                                                  Brady, 126 A.3d at 1157-58).
3. Inapplicability of Maine Caselaw Precedent: Carnicella
                                                                  The case law and the parties agree that the causation
As a final matter, we differ from the district court's reliance   element is the center of the dispute. Under the Maine-specific
on Carnicella v. Mercy Hosp., 168 A.3d 768 (Me. 2017). In         causation paradigm, “[t]o demonstrate a causal link sufficient
Carnicella, the plaintiff had explicitly requested leave and      to defeat a summary judgment motion” on a retaliation claim,
further extensions to said leave as a means to recover from an    Benson must make a sufficient evidentiary showing that her
injury before returning to work. The Maine Law Court held         protected activity “was a substantial, even though perhaps not
that the only accommodation requested in Carnicella, leave        the only, factor motivating her dismissal.” Id. at 349; see also
of absence, was unreasonable as a matter of law because, at       Caruso v. Jackson Lab., 98 A.3d 221, 226 (Me. 2014).
the time, the MHRA contemplated a defense that an employer
could discharge an employee with disabilities who could not       As previously discussed, in this case, the district court
perform the duties of the employment. Carnicella, 168 A.3d        concluded that none of the actions Benson raised, if
at 774.10 As a result, this rendered any additional leave as an   considered as protected activity, were causally connected
unreasonable accommodation under Maine law.                       to her termination. Benson II, 2020 WL 1669851, at *7-8.
                                                                  We disagree and hold that the facts viewed in the light
In this case, there are genuine issues of material facts as       most favorable to Benson could lead a reasonable factfinder
to whether Benson, who had a disability and requested a           to conclude that Benson's first employment discrimination
reasonable accommodation for it, could indeed perform the         lawsuit, the January 20 e-mail complaining of harassment,
duties of her job. Thus, the statutory defense invoked in         and her late January request for a reasonable accommodation
Carnicella, at this stage of the proceedings, is inapplicable.    of a modified schedule could have been “substantial” factors
Moreover, if these factual disputes were to be resolved in        motivating her dismissal.
Benson's favor, then the record shows that she understood
what an authorized leave of absence implied because               When we view the facts and inferences in the light most
she had requested the same before returning to work on            favorable to Benson's legal theory, several facts line up in
October 2016. On this occasion, she knowingly did not             her favor. First, the timing of the January e-mail and request
request leave, as defined under the Attendance Policy, in         for a modified schedule does not fare well for Wal-Mart. As
relation to her workers' compensation injury. Her reasonable      Benson tells it, Bradstreet screams at her for missing work
accommodation, as explained above, was not for a request of       in mid-January, Benson complains of this harassment and


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                                                                   the decisionmaker, Manager Bradstreet, was unaware of the
requests a modified schedule in the weeks after that, and
                                                                   e-mail, it could not be considered as the “but-for” cause
then, by mid-February, she is fired. On its own, the temporal
                                                                   of Benson's firing. The record, however, contains evidence
proximity between the January e-mail and accommodation
                                                                   indicating Bradstreet was not the only decisionmaker in
request and Benson's February 18 termination is sufficient
                                                                   Benson's termination process. Manager Bradstreet consulted
to make out a prima facie case, but the inference is even
                                                                   HR Manager Gottwald, one of the recipients of the January
stronger alongside HR Manager Gottwald's complete inaction
in response to Benson's harassment claim. See Clark Cty.           20 e-mail that complained about harassment.12 HR Manager
Sch. Dist. v. Breeden, 532 U.S. 268, 273, 121 S.Ct. 1508,          Gottwald recommended the matter be referred to Wal-
149 L.Ed.2d 509 (2001) (explaining that “temporal proximity        Mart's legal team, who, according to HR Manager Gottwald,
must be ‘very close’ ” to satisfy evidence of causality in prima   ultimately made the final decision to terminate Benson. In
facie case of retaliation); Soileau v. Guilford of Me., Inc.,      short, whether or not Bradstreet knew of the contents of the
105 F.3d 12, 16 (1st Cir. 1997) (noting “the larger sequence       e-mail is not fatal to Benson at this stage.
of events” for the causation element). Rather than initiate
some sort of investigation as required by Wal-Mart protocols,      With the prima facie case in Benson's favor, we move on to
Gottwald elected not to act, even in the face of Bradstreet,       the legitimate non-discriminatory reason and pretext aspects
the alleged harasser, attempting to fire Benson, her alleged       of the claim. Because we have already concluded that Benson
victim.                                                            can sustain an argument that Wal-Mart's proffered reason for
                                                                   her termination was pretextual, we need not go any further.
Benson's first lawsuit, filed nearly one year prior to her
termination, may be too remote to demonstrate any causation,
but the inference from the January events is too strong to         IV. Conclusion
ignore, especially when dealing with as low a bar as a prima
facie case. These pieces together are enough for Benson to         For the foregoing reasons, we reverse the district court's
make out a prima facie case. See Soileau, 105 F.3d at 16;          judgment entered on April 3, 2020, and remand for further
accord Oliver v. Digital Equip. Corp., 846 F.2d 103, 110           proceedings consistent with this opinion. Costs awarded to
(1st Cir. 1988) (considering the entire sequence of events for     Benson.
causation questions).

 *14 The January 20 e-mail is also critical. The district          All Citations
court relied on Pomales v. Celulares Telefónica, Inc., 447
                                                                   --- F.4th ----, 2021 WL 4190222
F.3d 79 (1st Cir. 2006), to support its reasoning that because


Footnotes
*      Of the District of Puerto Rico, sitting by designation.
1      The piriformis is a “muscle that arises from the front of the sacrum, passes out of the pelvis through the greater sciatic
       foramen, is inserted into the upper border of the greater trochanter of the femur, and rotates the thigh laterally.” Merriam-
       Webster's Medical Desk Dictionary 640 (2005).
2      The record is murky on how Wal-Mart informed employees of the Attendance Policy, but, at her deposition, Benson
       discussed her impressions and understanding of the policy and appears to have acknowledged that she understood it
       was in place when she returned to work. Also, Benson does not dispute that she knew the Attendance Policy was in
       effect in October 2016.
       Separately, all agree that the Attendance Policy was amended from the policy under which Benson had previously worked.
       The record does not contain great detail about the previous policy and the parties do not argue that the fact of a change
       is relevant to Benson's case here.
3      The Attendance Policy assigns: 1 “occurrence” for a full-day absence; .5 of an “occurrence” for a late arrival and early
       departures of between 10 and 120 minutes, and 1 occurrence for a late arrival or early departure of more than 120
       minutes. Each “unauthorized” absence or instance of tardiness therefore results in a partial “occurrence” or one or
       more “occurrences.” If an associate accumulates nine or more “occurrences” in a rolling six-month period, through any
       combination, the employee “will be subject to termination.”



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4      It is unclear from the text of the Attendance Policy whether those absences needed to be approved prior to their
       occurrence. As we will discuss, Benson and some Wal-Mart employees have different opinions as to whether the Policy
       requires pre-approval or mere eventual approval.
5      Benson considered the “Wal-Mart One” website to be confusing and noted that it did not offer a category for workers'
       compensation absences or tardies.
6      As discussed later, Benson proposed to the district court as an additional fact (though it reads more like an argument)
       that “workers' compensation” extended to missing work due to an illness caused by medication prescribed as treatment
       of a workers' compensation injury.
7      It is unclear from the record how this was communicated, if at all, and this information was not written in the Attendance
       Policy.
8      For purposes of clarity, we shall refer to all absences (full or partial) including late or early arrivals as “absences” rather
       than “occurrences” as they are described in the Attendance Policy.
9      An “M-1” form is a “Diagnostic Medical Report” completed by medical providers treating those with injuries sustained
       at work, whose treatment is covered by workers' compensation. The “M-1” form is required by the Maine Workers'
       Compensation Board. See 39-A M.R.S.A. § 208.
10     The MHRA was amended in 2019 to add “leaves of absence” to the list of accommodations in the statutory definition of
       “reasonable accommodation.” 2019 Me. Legis. Serv. Ch. 464 (H.P. 1216) (L.D. 1701) (WEST). Although this amendment
       became law after the present case was filed, it bears no weight in our analysis. Following the fundamental rule of statutory
       construction, the Maine Law Court has held that “all statutes will be considered to have a prospective operation only,
       unless the legislative intent to the contrary is clearly expressed or necessarily implied from the language used.” Morrill v.
       Me. Tpk. Auth., 983 A.2d 1065, 1067 (Me. 2009) (citing Terry v. St. Regis Paper Co., 459 A.2d 1106, 1109 (Me. 1983)).
       Similarly, the Supreme Court has held that “[e]lementary considerations of fairness dictate that individuals should have
       an opportunity to know what the law is and to conform their conduct accordingly” and thus “ ‘the principle that the legal
       effect of conduct should ordinarily be assessed under the law that existed when the conduct took place has timeless and
       universal appeal.’ ” Landgraf v. USI Film Products, 511 U.S. 244, 265, 114 S.Ct. 1483, 128 L.Ed.2d 229 (1994) (citing
       Kaiser Aluminum & Chem. Corp. v. Bonjorno, 494 U.S. 827, 855, 110 S.Ct. 1570, 108 L.Ed.2d 842 (1990) (Scalia, J.,
       concurring)). Neither of the exceptions detailed by the Maine Law Court are present here.
11     We note that it seems contradictory that Wal-Mart on the one hand argues that Benson was required to make a “direct
       and specific” request for leave of absence to comply with the Attendance Policy, yet also averred before the courts that
       leave of absence was not a “reasonable accommodation” under Maine law. We disavow Wal-Mart's “attempt[ ] to eat [its]
       cake and have it, too.” State St. Bank & Tr. Co. v. United States, 313 F.2d 29, 31 (1st Cir. 1963).
12     Benson testified that she included HR Manager Gottwald on the e-mail complaining about Manager Bradstreet. Though
       Gottwald could not recall whether he had received the e-mail, Benson testified that she had sent it to him. Whether HR
       Manager Gottwald read the e-mail or not is a matter of credibility best suited for a jury. See Ahmed v. Johnson, 752
       F.3d 490, 502 (1st Cir. 2014) (“Determining which view more accurately reflects reality requires factfinding and credibility
       judgments that are properly the task of a jury.”); United States v. Sepúlveda-Hernández, 752 F.3d 22, 30 (1st Cir. 2014)
       (“[I]t is the jury's role—not the role of an appellate court—to determine the weight to be given to a witness's testimony
       and to assess the witness's credibility.”).


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U.S. E.E.O.C. v. Custom Companies, Inc., Not Reported in F.Supp.2d (2007)
2007 WL 734395, 100 Fair Empl.Prac.Cas. (BNA) 859


                                                                      HARRY D. LEINENWEBER, United States District Court
     KeyCite Yellow Flag - Negative Treatment                         Judge.
On Reconsideration in Part U.S. E.E.O.C. v. Custom Companies, Inc.,
N.D.Ill., June 21, 2007                                                *1 The Equal Employment Opportunity Commission
                     2007 WL 734395                                   (hereinafter, “EEOC”) and Plaintiff-Interveners Catherine
                United States District Court,                         Copello (hereinafter “Copello”) and Allison Kennedy
                       N.D. Illinois,                                 (hereinafter “Kennedy”) (hereinafter, “Interveners”)
                     Eastern Division.                                (collectively, the “Plaintiffs”) filed suit against Defendants
                                                                      Custom Companies Inc. (hereinafter, “Custom”) and Custom
  UNITED STATES EQUAL EMPLOYMENT                                      Executive Group (hereinafter, “CEG”) (collectively, the
                                                                      “Defendants”) alleging sexual harassment and retaliation in
  OPPORTUNITY COMMISSION, Plaintiff,
                                                                      violation of Title VII of the Civil Rights Act, as amended, 42
                   and                                                U.S.C. § 2000 et seq. A jury found for the Plaintiffs on all
       Catherine Copello and Allison                                  but one count (Kimberly Fritkin's sexual harassment claim).
      Kennedy, Plaintiffs-Intervenors,                                Both Plaintiffs and Defendants filed post-trial motions. Due
                                                                      to the sheer number of motions (and issues) to be decided, the
                    v.                                                facts pertinent to each issue will be recited within the Court's
       CUSTOM COMPANIES, INC.,                                        analysis of that issue, rather than presented here.
           Custom Executive Group, Inc.
          and CDN Logistics, Defendants.
                                                                      I. JUDGMENT AS A MATTER OF LAW
                  Nos. 02 C 3768, 03 C 2293.
                              |                                       A. Custom Executive Group As a Proper Party
                        March 8, 2007.
                                                                      Defendants move for summary judgment and/or judgment as
Attorneys and Law Firms
                                                                      a matter of law as to CEG, arguing that Plaintiffs failed to
Noelle Christine Brennan, Brennan & Monte, Ltd., Beth A.              fulfill a statutory prerequisite for suing CEG by failing to
Miller, Pontikes & Garcia, Deborah Lois Hamilton, John                include CEG in the only EEOC charge. (Defendants move for
C. Hendrickson, Richard John Mrizek, United States Equal              summary judgment because this Court has reserved for itself
Employment Opportunity Commission, Chicago, IL, for                   the decision as to the status of CEG and Custom.) Copello's
Plaintiff.                                                            EEOC charge, the only EEOC charge filed by a plaintiff
                                                                      remaining in the case at trial, did not mention CEG.
Martin K. Denis, Bethany A. Hilbert, Daniel R. Madock,
Jessica E. Huebsch-Lynott, Maureen Kay Feldman, Barlow                A plaintiff may add an unnamed defendant if that party
Kobata & Denis, Michael David Robbins, Michael                        had adequate notice of the charge and had been given the
D. Robbins & Associates, Chicago, IL, for Plaintiffs-                 opportunity to participate in conciliation proceedings. See
Intervenors.                                                          Eggleston v. Chicago Journeymen Plumbers' Local Union No.
                                                                      130, 657 F.2d 890, 905 (7th Cir.1981). Plaintiffs meet the
Diane E. Gianos, Bennett L. Epstein, Eric M. Phillips, James          Eggleston requirements. First, CEG was aware of the EEOC
Daniel Dasso, Jason Robert Bent, Karen Ann Kawashima,                 charge. CEG and Custom share an owner, a President, Vice-
Foley & Lardner, David A. Epstein, Attorney at Law,                   Presidents of Operations and Sales, and human resources
Chicago, IL, Daniel P. Colling, Walter B. Connolly, Jr., Foley        officers. See Eggleston, 657 F.2d at 906 (overlap of board
& Lardner, Detroit, MI, for Defendants.                               members between named and unnamed parties indicate that
                                                                      unnamed party was aware of EEOC charge). CEG employees
                                                                      Terry Klonowski (hereinafter, “Klonowski”) and Tom Boyle
MEMORANDUM OPINION AND ORDER                                          (hereinafter, “Boyle”) testified that they were aware of the
                                                                      charge. The charge alleges that Copello complained about
                                                                      “degrading sexist comments” to Perry Mandera (hereinafter,


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“Mandera”), CEG's President and owner. Second, CEG had               (7th Cir.2005). Defendants' only case, Bost v. Federal Express
sufficient opportunity to participate in conciliation. “If a party   Corp., 372 F.3d 1233, 1241 (11th Cir.2004) is inapposite as
has a close relationship with a named respondent ... and             it involves a suit filed by a plaintiff (on behalf of himself and
has actual notice of the EEOC charge ... to the extent that          a class) before filing the requisite EEOC charge rather than
[the unnamed party] could have participated in conciliation          a suit filed by the EEOC on behalf of a class of individuals.
efforts, the [unnamed party] should not be heard to cry              See, generally, Caterpillar, 409 F.3d at 832 (distinguishing
‘foul’ when later made a defendant in a suit.” Eggleston, 657        cases brought by the EEOC and those brought by private
F.2d at 907 (quoting Stevenson v. International Paper Co.,           individuals). Thus, Fritkin's claim is not barred.
432 F.Supp. 390, 397-98 (W.D.La.1977)). As in Eggleston,
                                                                     Next, Defendants move for judgment as a matter of law on
CEG's and Custom's close relationship necessarily suggests
                                                                     Fritkin's retaliation claim, arguing that a legitimate lawsuit
that CEG had sufficient opportunity to conciliate. Thus,
                                                                     cannot be the basis for a retaliation claim. This Court has
Defendants' motion is denied.
                                                                     previously held that Fritkin met the second requirement of
 *2 Defendants have also argued that CEG is not a single             the McDonnell Douglas test because she suffered an adverse
employer with Custom. This argument will be addressed in a           action by being sued and being forced to incur the expenses
later section.                                                       of hiring attorneys. U.S. E.E.O.C. v. Custom Companies,
                                                                     Inc., 2006 WL 3087104 (N.D.Ill. Oct.26, 2006); E.E.O.C. v.
                                                                     Custom Companies, Inc., 2004 WL 1638224 (N.D.Ill. July 21,
                                                                     2004). Based on the evidence at trial, a reasonable jury could
B. Kimberly Fritkin's Retaliation Claim                              have determined that Defendants' lawsuit was retaliatory;
                                                                     Defendants ignored Fritkin's purported debt until after the
Defendants have moved for a directed verdict and/or
                                                                     EEOC filed suit and filed the suit only after Defendants
judgment as a matter of law as to Kimberly Fritkin's
                                                                     failed to have Fritkin removed from the class. Custom
(hereinafter, “Fritkin”) retaliation claim because that claim
                                                                     has never filed a similar suit against any of its previous
was brought only as a piggyback (to Corinne Miller's claim)
                                                                     sales representatives. See, Equal Employment Opportunity
in the 2003 case. Fritkin filed no timely EEOC charge of
                                                                     Commission v. Levi Strauss & Co., 515 F.Supp. 640, 644
her own. The EEOC counters that it brought the claim upon
                                                                     (N.D.Ill.1981) (“those suits initiated in state court in good
meeting Title VII's prerequisites to filing suit based on an
                                                                     faith ... are not necessarily violations of the Act ... the
administrative determination that a class of individuals was
                                                                     Commission must demonstrate that the action was filed for
subjected to retaliation by Defendants.
                                                                     improper, i.e., retaliatory, purposes”).

The EEOC may seek relief on behalf of individuals who have
not filed charges if it finds “reasonable cause to believe a valid
charge was filed in a timely manner.” E.E.O.C. v. Harvey L.          II. DAMAGES
Walner & Associates, 91 F.3d 963 (7th Cir.1996). No Seventh
Circuit authority requires that the EEOC win on the merits of
                                                                     A. Damages Awarded by the Jury
the timely filed charge. Indeed, “any violations that the EEOC
ascertains in the course of a reasonable investigation ... are       *3 The following damages were awarded by the jury:
actionable.” E.E.O.C. v. Caterpillar, Inc., 409 F.3d 831, 833
                                                                               Compensatory                 Punitive
 Catherine Copello                         (harassment)                        $ 100,000                    $ 1,000,000
                                           (retaliation)                       $ 60,000                     $ 300,000
 Allison Kennedy                           (harassment)                        $ 50,000                     $ 500,000
                                           (retaliation)                       $ 35,000                     $ 150,000
 Kimberly Fritkin                          (harassment)                        ___                          ___



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                                          (retaliation)                      ___                          $ 100,000
                                          (attorney fees)                    $ 60,000
                                                                   principles. As such, this Court will apply a per suit, per
                                                                   plaintiff cap.
B. Compensatory and Punitive Damages


1. § 1981a Statutory Caps                                          b. Relevant Time Periods

The parties agree that the compensatory and punitive damages       The relevant time periods in a Title VII action are the
are limited by the statutory caps set forth in § 1981a.            time periods in which discriminatory conduct occurred. See
                                                                   42 U.S.C. § 1981(b); Komorowski v. Townline Mini-Mart
                                                                   and Restaurant, 162 F.3d 962, 965 (7th Cir.1998). Plaintiffs
a. Caps Apply Per Plaintiff, Per Suit                              suggest that the relevant years are 1994-1999 (Copello was
                                                                   harassed between 1994 and 1999), 1998-1999 (Copello was
The parties dispute whether the caps apply per plaintiff or per    retaliatorily denied quotes in 1998 and terminated in 1999),
claim. In Smith v. Chicago School Reform Bd. of Trustees,          1998 (Kennedy was harassed and retaliatorily terminated in
165 F.3d 1142 (7th Cir.1999), the Seventh Circuit considered       1998), and 2004 until the present (Fritkin was retaliatorily
whether a Plaintiff could apply the caps on a per-claim basis,     sued in 2004 until the present). Defendants contend that the
thus recovering up to the cap maximum on each of three             relevant time period for Fritkin is only 2004 because the
racial discrimination counts. The Seventh Circuit held that the    suit was initiated in 2004, and that no retaliatory actions
caps applied on a per-lawsuit, per-plaintiff basis: “the unit of   were taken thereafter. Although Defendants did not undertake
accounting is the litigant, not the legal theory.” In response     any new retaliatory actions after 2004, their initial retaliatory
to the Plaintiff's argument that this result would lead creative   action was ongoing. As such, this Court will consider
lawyers to file multiple suits, the Court responded:               1994-1999, 1998-1999, 1998, and 2004 until the present as
                                                                   the relevant periods.
  “The same-transaction rule developed in the law of
  preclusion holds out more prospect of giving a practical
  answer to that question than does any other approach
  we can envisage. It permits persons who have been                c. Number of Employees
  victimized multiple times (and separately injured by each
                                                                    *4 To determine the number of employees employed by
  discriminatory episode) to recover more than persons who
                                                                   a company for the purposes of the § 1981a caps, a court
  have suffered only once, which is as it should be; but it also
                                                                   must determine the number of employees employed in each
  recognizes that a single discriminatory ‘transaction’ may
                                                                   of twenty or more calendar weeks in the relevant period.
  include many nasty events.”
                                                                   42 U.S.C. § 1981a(b)(3). Plaintiffs assert that Defendants
                                                                   employed more than 200, but fewer than 501 employees, in
Plaintiffs argue that because the EEOC brought two separate
                                                                   each of the relevant time periods, which places the applicable
class lawsuits, one for harassment (Case No. 02 C 3768) and
                                                                   statutory caps at $200,000. 42 U.S.C. § 1981(b). Defendants
one for retaliation (Case No. 03 C 2293), the caps should
                                                                   assert that they employed fewer than 101 employees in
apply per plaintiff and per lawsuit. The cases were combined
                                                                   1999 (a $50,000 cap), slightly more than 101 employees
only for purposes of judicial efficiency. The Seventh Circuit
                                                                   in 1998 (a $100,000 cap), and less than 100 employees in
specifically acknowledged that plaintiffs might split their
                                                                   2004 (a $50,000 cap). Id. Plaintiffs' and Defendants' differing
claims into separate suits to take advantage of more than one
                                                                   numbers are due to a dispute over which employees count:
cap in Smith; it responded that so long as the second suit
                                                                   Plaintiffs assert that this Court should count (1) Custom
did not run afoul of claim preclusion considerations, a single
                                                                   employees, (2) CEG employees, and (3) Custom and CEG's
plaintiff could take advantage of two statutory caps in this
                                                                   leased employees, whereas Defendants argue that this Court
manner. The two suits here arose out of different transactions,
                                                                   should consider only Custom employees.
and thus, Plaintiffs have not run afoul of claim preclusion




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                                                                     *5 Plaintiffs argue that it can meet the first and third
                                                                    situations identified in Papa. Because this Court finds that
i. Custom Companies Employees
                                                                    Plaintiff meets the third of the Papa requirements, it will
The parties agree that this Court should count the employees        not consider the first. See Shannon, 2003 WL 1338457
employed by Custom Companies. Custom Companies                      at *5. Under this test, Plaintiffs must demonstrate that
employed 109 employees for a twenty-week period in 1998,            CEG directed the complained of act, policy, and procedure.
72 employees for a twenty-week period in 1999, and 91               Id. CEG employed all executives and management-level
employees for a twenty-week period between 2004 and 2006.           personnel and at Custom, including harassers Tom Kolzow
                                                                    (hereinafter, “Kolzow”) and Mike Maher (hereinafter,
                                                                    “Maher”). Klonowski, who is responsible for Custom's
                                                                    compliance with Title VII, is a CEG employee. Mandera,
ii. CEG Employees
                                                                    who was involved in the decisions to retaliatorily terminate
Defendants assert that this Court cannot consider employees         Copello and Kennedy and to sue Fritkin, is an employee of
of CEG when determining the caps because CEG is not a               CEG. Thus, this Court finds that CEG is properly a single
single employer with Custom under the test set forth in Papa        employer with Custom.
v. Katy Industries, Inc., 166 F.3d 937 (7th Cir.1999). Papa
considered whether a parent corporation's employees could           As such, this Court must determine the number of employees
be counted so that the aggregate number of employees for            employed by CEG during 1994-1999, 1998-1999, 1998, and
the plaintiff's employer and the parent corporation exceeded        2004 to the present. The EEOC's and Plaintiff-Intervenors'
the minimum of fourteen required for recovery under Title           proposed numbers do not agree; the EEOC claims that CEG
VII. Id. The Seventh Circuit set out three specific situations in   employed 19 in 1998, 18 in 1999, and 22 from 2004 to
which a company may be considered a single employer with            2006 whereas Plaintiff-Intervenors claim that CEG employed
another: (1) where traditional “piercing the veil” conditions       23 at all relevant times. The disagreement appears to stem
exist; (2) where an enterprise has split itself up for the          from reliance on different sources-the EEOC cites to CEG's
express purpose of avoiding liability under the discrimination      payroll records whereas Plaintiff-Intervenors cite to Steve
laws; or (3) where the second corporation has directed the          Laue's Rule 30(b)(6) testimony. This Court recognizes that the
complained of act, practice, or policy. Defendants assert that      discrepancies will not affect the outcome and thus employs
Plaintiffs cannot meet these tests, primarily because CEG           the lower of the figures. (See table below).
is not Custom's parent corporation. Plaintiffs assert that the
companies need not be in a parent-subsidiary relationship for
Papa to apply, and that Custom and CEG meet the first and           iii. Leased Employees
third Papa prongs.
                                                                    Lastly, Defendants assert that this Court should not consider
While Papa clearly involved a parent-subsidiary relationship,       leased employees when determining the cap amounts.
the Seventh Circuit has applied its test to situations involving    Between 1995 and 2006, Defendants leased employees from a
affiliated corporations. Worth v. Tyer, 276 F.3d 249, 259-260       series of companies, including LeaseCo, Innovative Benefits
(7th Cir.2001); see also, Shannon v. Hotel Employees and            Concepts (hereinafter, “IBC”), and Transportation Personnel
Restaurant Employees Intern' Union, 2003 WL 1338457                 Services, Inc. (hereinafter, “TPS”). These employees were not
(N.D.Ill. Mar.18, 2003). In Worth, the plaintiff was employed       paid by Custom or CEG, but Plaintiffs assert that they should
by one corporation that was closely affiliated with four            be counted because Defendants exercised sufficient control
other corporations. Plaintiffs sought to aggregate the various      over them.
corporations' employees, and the Seventh Circuit applied the
Papa test to find that the corporations did not meet any of         As an initial matter, Defendants argue that employees of
the prongs. Id. 276 F.3d at 259-260 (finding one affiliated         LeaseCo, IBC, and TPS should not be counted because these
corporation liable as a successor in interest). Clearly, the Papa   entities were not mentioned in Copello's EEOC charge, the
test applies to this case, despite the fact that CEG is not         complaints, or the joint pre-trial order, and because Plaintiffs
Custom's parent corporation.                                        seek to raise a new theory of liability against these entities.
                                                                    Plaintiffs are not seeking to assert liability against these
                                                                    companies. Instead, Plaintiffs merely argue that these entities'


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employees were sufficiently controlled by Defendants that          employer exercised sufficient control over the employees);
they should count for the statutory caps. As such, these           Stone v. Indiana Postal & Federal Employees Credit Union,
entities need not have been mentioned in the EEOC charge,          2005 WL 2347226 at *2-4 (N.D.Ind. Sept.25, 2005) (plaintiff
complaints, or pre-trial order. Defendants' reliance on Parrish    attempts to aggregate committee members based on argument
v. Solecito, 280 F.Supp.2d 145 (S.D.N.Y.2003), for the             that they are like temporary employees, but fails because
proposition that Plaintiffs attempt to aggregate the leased        committee members are not employees at all); Arculeo v.
employees too late, is inappropriate. Parrish involved a           On-Site Sales & Marketing, LLC, 425 F.3d 193 (N.Y.2005)
Plaintiff who belatedly attempted to aggregate employees           (suggesting that a plaintiff may aggregate employees of
of several separate entities merely because these entities         a joint employer, but only if the “loaned” employees are
were owned by the same individual, there was some overlap          jointly employed; plaintiff did not make this showing);
between employees of the various entities, and the entities        EEOC Compliance Manual § 2-III(B)(1)(a)(iii)(b) (giving
shared certain support services. Here, rather, Plaintiffs seek     example where plaintiff sues corporation with thirteen regular
to aggregate employees who, for all intents and purposes,          employees and five temporary employees; corporation is
worked for Custom.                                                 covered by Title VII because it has eighteen employees).

 *6 Next, Defendants argue that LeaseCo, IBC, and TPS              This Court believes that aggregation of sufficiently controlled
are not joint employers with Custom, the Seventh Circuit           temporary or leased employees is the correct conclusion.
no longer espouses the joint employer theory, and, even            Not permitting a plaintiff to aggregate sufficiently controlled
if Plaintiffs successfully asserted a joint employer theory,       temporary or leased workers would work an injustice. It
the employees of the companies cannot be aggregated.               would artificially deflate an employer's number of employees,
Defendants correctly point out that the Seventh Circuit cases      thereby artificially limiting a Title VII plaintiff's recovery
cited by Plaintiffs concern joint employer theories where          under the statutory caps, and in some cases, entirely
the plaintiff, usually a temporary employee, is officially         precluding recovery under Title VII. If the caps exist to protect
employed by one employer, the temporary agency, and seeks          small employers from excessive liability, they necessarily
to sue the employer where she was placed by the agency             equate number of employees with an employer's size and
(the placement employer, not the temporary agency, engaged         ability to pay. Whether an employer employs workers via its
in discrimination). See, e.g., Piano v. Ameritech/SBC, 2003        own payroll, or hires these employees through an employment
WL 260337 (N.D.Ill. Feb.5, 2003); Kerr v. WGN Continental          agency or other joint employer, it seems that these workers
Broadcasting Co., 229 F.Supp.2d 880, 885-86 (N.D.Ill.2002).        should count in an assessment of the employer's size and
Plaintiffs here seek a joint employer theory not in order to       ability to pay (assuming, of course, sufficient control has
sue the discriminator, but in order to arrive at a more accurate   been exercised by the employer over these workers). After
count of the employees who worked for the discriminator.           all, courts will look to “the conventional master-servant
Although the validity of a joint employer theory is in doubt,      relationship as understood by common law agency doctrine”
the Seventh Circuit has not held that aggregation is improper.     to determine who is an employee under Title VII because the
See Piano, 2003 WL 260337; U.S. E.E.O.C. v. Foster Wheeler         definition of “employee” is unhelpful and circular. See Brown
Const., Inc., 1999 WL 515524 (N.D.Ill. July 14, 1999).             v. City of North Chicago, 2006 WL 1840802 at *5 (N.D.Ill.
                                                                   June 28, 2006) (considering whether plaintiff is employee
Several other jurisdictions have allowed aggregation of the        or independent contractor). Allowing an employer to avoid
kind sought here (or suggested that it would be allowed in the     increased liability simply by employing workers through a
proper circumstances). Trainor v. Apollo Metal Specialties,        third party would distort the application of the caps.
Inc., 318 F.3d 976 (10th Cir.2002) (considering whether
temporary workers were sufficiently controlled as to be             *7 That is not to say, however, that any or all temporary or
aggregated); Virgo v. Riviera Beach Associates, Ltd., 30           leased employees should be aggregated. Instead, only those
F.3d 1350, 1361 (11th Cir.1994) (hotel and contractor were         workers over whom the employer has a certain amount of
properly considered joint employers and that aggregation of        control should be counted. See Piano, 2003 WL 260337;
employees was appropriate); Burdett v. Abrasive Engineering        Burdett, 989 F.Supp. 1107. In Piano, where a temporary
& Technology, Inc., 989 F.Supp. 1107 (D.Kan.1997) (plaintiff       employee sought to sue his placement employer, the court
could aggregate employees of staffing agency, as long              used a five-part test to determine if the placement employer
as those employees were staffed with the employer and              was a joint employer with the temporary agency. Piano, 2003



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WL 260337 at *5 (importing the test from the independent        that these employees should be aggregated. Instead, these
contractor/employee context). Thus, this Court will consider    arguments go to what Plaintiffs freely admit: that LeaseCo
the following five factors: “(1) the extent of the employer's   and IBC are separate and distinct companies from Custom.
control and supervision over the worker, including directions
on scheduling and performance of work; (2) the kind of           *8 The number of employees employed by LeaseCo and
occupation and nature of skill required, including whether      IBC and controlled by Custom appears to be in dispute
skills are obtained in the work place; (3) responsibility       between the parties. Plaintiffs suggest that the number was
for the costs of operation, such as equipment, supplies,        100 at all relevant times, drawn from a statement made during
fees, licenses, workplace, and maintenance of operations; (4)   Klonowski's deposition. Defendants contest this number in
method and form of payment and benefits; and (5) length of      their sur reply (but not in their response) but offer no
job commitment and/or expectations.” Id. The first factor is    suggestion as to the proper number. Prior to very recently,
the most important. Id.                                         Defendants had steadfastly refused to turn over records from
                                                                which the proper number could be extrapolated, arguing that
LeaseCo and IBC employees were sufficiently controlled          the leased employees could not be aggregated and that the
by Custom to have their employees aggregated. LeaseCo           records were irrelevant. This Court believes that Defendants
and IBC provided dispatch, dock operations, drivers,            had an obligation to do more than merely assert that Plaintiffs
and mechanics to Custom (but primarily drivers and              got it wrong. As such, this Court will deem the number to be
dock operations workers). Custom maintained control of          100.
these workers; they interviewed employees before they
were placed with Custom and provided all equipment              This Court, however, does not believe that Custom had
with which they worked. Custom, furthermore, supervised         sufficient control over TPS employees such that they may
the employees' supervisor and provided personnel files,         be aggregated. The facts regarding TPS' relationship with
performance reviews, discipline, and made these employees       CDN Logistics and Custom are somewhat sketchier than
eligible for employee of the month rewards. These employees     those regarding IBC's and LeaseCo's, and many of the facts
received a Custom handbook and Custom ran their training.       important for the control test are not clear. Additionally,
Although the employees were paid by LeaseCo and IBC,            TPS is on a different footing with Custom because TPS
the employees were eligible for Custom health benefits and      employees work directly for CDN Logistics and/or Custom
Custom approved salary changes. The employees worked            Global Logistics, not Custom. TPS employees received
in Custom facilities and drove trucks provided by Custom.       Custom employee handbooks. After IBC stopped providing
Additionally, Terry Klonowski arranged for some LeaseCo         employees, many of these same employees remained under
employees to remain with Custom through IBC.                    TPS because either CDN Logistics or Klonowski arranged
                                                                for their transition. Before TPS placed employees with
Defendants argue that LeaseCo and IBC are separate              CGN Logistics and/or Custom Global Logistics, they were
companies and provide the same services now provided to         interviewed, but it is unclear which entity interviewed them.
Custom by CDN Logistics. This Court has held that CDN           There has been no information regarding TPS employees'
Logistics is not a single employer with Custom and therefore    eligibility for health benefits or employee of the month
granted summary judgment in its favor. LeaseCo and IBC do       awards put before this Court. Furthermore, there is no
not “play the same role” as Defendants claim; CDN Logistics     information regarding approval of salary changes, discipline,
now employs TPS to fill the role previously played by           or the maintaining of personnel files for these workers. The
LeaseCo and IBC. LeaseCo and IBC are separate companies;        leased TPS employees are relevant only to the cap in Fritkin's
they have their own phone and fax numbers, have separate        retaliation claim; even if they are not aggregated, the jury's
business facilities from Custom, maintain their own financial   punitive award does not exceed the statutory cap. As such, the
and business records, and share no bank loans or credit lines   status of the TPS employees is irrelevant.
with Custom. Essentially, Defendant argues that LeaseCo and
IBC should be characterized as vendors, rather than joint
employers (or temporary agencies), and that their employees
                                                                iv. Number of Employees and Applicable Statutory Caps
therefore should not be aggregated. These arguments do not
change the facts laid out above or that Custom asserted         Based on the foregoing, the number of employees in the
sufficient control over LeaseCo and IBC employees such          relevant years of 1998, 1999, and 2004 to the present are:


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                                                       Custom        CEG      Leased          Total        Cap

 Copello Retaliation (1998-99)                         109           19       100             228          $ 200,000

 Copello Sex Harassment (1994-1999)                    109           19       100             228          $ 200,000

 Kennedy Retaliation (1998)                            109           19       100             228          $ 200,000

 Kennedy Sex Harassment (1998)                         109           19       100             228          $ 200,000

 Fritkin Retaliation (2004-2006)                       91            22       None            113          $ 100,000

                                                                   are rationally related to the evidence presented. There was
See § 1981a.                                                       evidence that Copello and Kennedy were subjected to
                                                                   repeated sexually explicit comments and jokes as well as (in
                                                                   Kennedy's case) inappropriate touching by Custom and CEG
2. Compensatory Damages
                                                                   employees. This behavior did not stop, despite complaints.
Compensatory and punitive damages together must comply             There was also evidence that Copello and Kennedy were fired
with the § 1981a caps. The Seventh Circuit suggests that           shortly after either making complaints or having a complaint
the preferred method for reducing awards is to leave               made for them, and that Mandera threatened Copello that
compensatory damages intact and lower punitive damages as          she would not work again in the industry. Additionally, both
necessary to bring the total under the cap (rather than reducing   Copello and Kennedy testified to the emotional harm she
the compensatory damages or reducing both pro rata). See           suffered as a result of Defendants' actions.
Lust v. Sealy, Inc., 383 F.3d 580, 589 (7th Cir.2004). This
Court need not reduce the compensatory damages awarded             Furthermore, this Court notes that the jury's awards appear
by the jury, as each award is less than the applicable § 1981a     internally consistent: more was understandably awarded
statutory caps.                                                    to Copello than to Kennedy, as Copello was subjected
                                                                   to the Custom environment longer. While courts do not
 *9 Defendants assert that compensatory damages should             normally consider internal consistency in determining if a
be reduced to nominal compensatory damages. Specifically,          compensatory award is monstrously excessive, this Court
Defendants argue that compensatory damages of only $1.00           believes that the internal consistency is further proof that the
are appropriate because the Plaintiffs offered only their          award was not the “product of the jury's fevered imaginings
own self-serving testimony that they had been emotionally          or personal vendetta.” See, U.S. E.E.O.C. v. AIC Sec.
troubled by events at Custom, and this testimony did not reach     Investigations, Ltd., 55 F.3d 1276, 1285 (7th Cir.1995).
the requisite level of detail.
                                                                   Title VII plaintiffs are not required to present medical
A court must give substantial deference to a jury's calculation    evidence of emotional injury. Farfaras v. Citizens Bank
of compensatory damages, but must also “ensure that the            and Trust of Chicago, 433 F.3d 558 (7th Cir.2006) at
award is supported by competent evidence.” Farfaras v.             566. If, however, the plaintiff provides the sole evidence
Citizens Bank & Trust Co. of Chicago, 2005 WL 670523 at            of mental distress, he must reasonably and sufficiently
*4 (N.D.Ill. Mar.21, 2005). When reviewing a compensatory          explain the circumstances of his injury, and not merely
award, a court makes three inquiries: “whether the award           make conclusory statements. Biggs v. Village of Dupo, 892
is ‘monstrously excessive’; whether there is no rational           F.2d 1298, 1304 (7th Cir.1990). The Seventh Circuit does
connection between the award and the evidence ...; and             not require that claims of emotional injury be supported
whether the award is roughly comparable to awards made in          by corroborating testimony. Niebur v. Town of Cicero, 212
similar cases.” Id.                                                F.Supp.2d 790, 822 (N.D.Ill.2002). Additionally, because
                                                                   “emotional damages are difficult to describe, it will often
After reviewing the record, this Court concludes that the          suffice to describe their causes, and appeal to the jury's
compensatory awards are not “monstrously excessive” and            understanding of what it would be like to have to endure such
                                                                   abuse.” Id. Defendants argue that Copello's and Kennedy's


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                                                                     243 F.3d at 1068 (upholding $80,000 award for retaliatory
testimony was insufficiently detailed to support the jury's
                                                                     discharge); Neal v. Honeywell, Inc., 191 F.3d 827 (7th
award. In Biggs, and in Nekolny v. Painter, 653 F.2d 1164,
1172-73 (7th Cir.1981), the Seventh Circuit reversed a jury's        Cir.1999) ($200,000 for emotional damages); Farfaras,
compensatory damages award because the plaintiff merely              2005 WL 670523 (upholding $200,000 award for sexual
made “a single statement” that he was “depressed” or “a little       harassment). As this Court stated in Farfaras, “[t]his is not a
despondent.” Biggs, 892 F.2d at 1305. Despite the fact that          case of an isolated comment or action. Plaintiff testified that
Plaintiffs did not present testimony from a medical expert           Defendants, who each held positions of power ... harassed her
or corroborating testimony, their testimony was sufficient to        on repeated occasions.” 2005 WL 670523 at *4. Thus, this
support the jury awards. Both Copello and Kennedy testified          Court will not reduce the compensatory damages awards.
to emotional harm in greater detail than was the case in
Biggs or Nekolny and to sufficient abuse and retaliation
from which the jury could infer what it would be like to             3. Punitive Damages
suffer such abuse (as Neibur suggests). Copello testified that
she did not enjoy hearing sexually explicit conversations in
                                                                     a. Appropriateness
sales meetings and felt ashamed when hearing them; that
she was humiliated, afraid, embarrassed, and felt like “two          As an initial matter, Defendants argue (but only in their
cents” by the ongoing betting that she would sleep with              reply brief) that Plaintiffs have not made the requisite
George Wiszowaty (hereinafter, “Wiszowaty”); that she felt           showing for punitive damages to have been awarded.
ashamed and embarrassed when forced to go to the Crazy               Punitive damages may be awarded in Title VII cases where
House (a place of adult entertainment); that she felt “pretty        the plaintiff demonstrates that his employer engaged in a
worthless” and was shocked and embarrassed at golf outings           discriminatory practice “with malice or reckless indifference
that included strippers; that she felt horrified when looking at     to the [plaintiff's] federally protected rights.” Kolstad v.
pictures from these golf outings; that she felt terrified after      American Dental Ass'n., 527 U.S. 526, 535, 119 S.Ct. 2118,
Kennedy was fired; that she felt nervous and uncomfortable           144 L.Ed.2d 494 (1999). Kolstad established a three-part
having to listen to Wiszowaty while sitting in her cubicle;          framework for determining whether punitive awards were
etc. Kennedy testified that she felt that she didn't know what       appropriate: the plaintiff must establish that (1) the employer
she was getting herself into when Kolzow referred to women           acted with knowledge that its actions may have violated
as “bitches and cunts”; she was absolutely ill when going            federal law and (2) the employees who discriminated against
to work knowing she would have to see Maher; that she                him are managerial agents acting within the scope of their
was upset and could not concentrate after Maher grabbed              employment; and the employer can avoid liability for punitive
her on the Rockford sales call; that she did not want to go          damages if it can show (3) that it engaged in good faith
into work, but did not quit because she needed the job; that         efforts to implement an anti-discrimination policy. Bruso
she was terrified and very scared, that she was thoroughly           v. United Airlines, Inc., 239 F.3d 848 (7th Cir.2001). This
embarrassed when she observed Wiszowaty fondling his                 Court believes that the evidence was sufficient to enable
girlfriend's breasts at the United Center; that she felt shattered   a reasonable jury to determine that Custom was recklessly
when fired and told to leave within 15 minutes; etc. The jury        indifferent to the Plaintiffs' federally protected rights.
was able to observe both women while they testified and
apparently found their testimony to be sincere and sufficient
to convince them that they merited the amounts awarded. See
Tullis v. Townley Engineering and Mfg. Co., Inc., 243 F.3d           b. Copello and Kennedy
1058, 1068 (7th Cir.2001).
                                                                     This Court must reduce the punitive damages awarded by the
                                                                     jury to fit within the § 1981a caps. As the Court has upheld
 *10 The awards in this case are roughly comparable
                                                                     the compensatory damages, the following reductions in the
to awards in other Title VII cases. See, Lampley v.
                                                                     punitive damages must be made to comply with the caps:
Onyx Acceptance Corp., 340 F.3d 478, 484 (7th Cir.2003)
(upholding $75,000 award for retaliatory discharge); Tullis,
                                                        Jury Award                 Cap Compliant Award
 Copello            (harassment)                        $ 1,000,000                $ 100,000


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                   (retaliation)                     $ 300,000                   $ 140,000
 Kennedy           (harassment)                      $ 500,000                   $ 150,000
                   (retaliation)                     $ 150,000                   $ 150,000
                                                                  where the caps are applied to awards that exceed the cap
Now, the court must determine whether the remaining               amounts. As the Seventh Circuit has stated, “[r]eflecting our
punitive damage awards are excessive. See Lust, 383 F.3d          general deference to jury verdicts, we have never required the
at 589-590 (7th Cir.2004) (first reducing punitive damages        district court to adjust a jury's punitive damages verdict so
to comply with cap and then considering whether they are          that it is proportional, in the court's view, to the defendant's
excessive).                                                       wickedness.” Lampley, 340 F.3d at486 (citing Caudle v.
One of the purposes of punitive damages in the employment         Bristow Optical Co. Inc., 224 F.3d 1014, 1028 (9th Cir.2000)).
discrimination context is to “dissuade defendants who
are unaffected by compensatory damages from the                   A court will “not normally” disturb an award of damages at
misapprehension that they are beyond the reach of civil           or under the statutory cap, “as this decision is largely within
penalties.” Farfaras, 433 F.3d at 567. To determine whether       the province of the jury.” Fine v. Ryan Intern. Airlines, 305
a punitive damage award is excessive, a court considers the       F.3d 746 (7th Cir.2002). As such, the statutory maximum
following three guideposts: “(1) the degree of reprehensibility   permitted by the caps is not reserved for only the most
of defendant's conduct; (2) the disparity between the harm        egregious cases. Lampley, 340 F.3d at 486. The evidence
suffered by the plaintiff and his punitive damages award; and     in this case supported a finding that Defendants engaged
(3) the difference between this remedy and the civil penalties    in prolonged sexual harassment (both verbal and physical)
authorized or imposed in comparable cases.” Kapelanski v.         and then retaliated against Copello and Kennedy when they
Johnson, 390 F.3d 525, 534 (7th Cir.2004) (citing BMW of          dared to complain. It is also possible that the jury found large
North America, Inc. v. Gore, 517 U.S. 559, 575, 116 S.Ct.         punitive damages awards necessary to ensure that Defendants
1589, 134 L.Ed.2d 809 (1996)). A punitive damages award           “sat up and took notice.” Id. at 486.
must not “exceed what is necessary to serve the objectives of
deterrence and punishment.” AIC Security, 55 F.3d at 1287.        Additionally, these awards are comparable to awards made
                                                                  in other cases. See id. at 486 (upholding $270,000 punitive
 *11 Defendants' actions were reprehensible. There was            damage award); and AIC Sec. Investigations, 55 F.3d 1276
evidence of repeated touching (in Kennedy's case), sexually       ($150,000 punitive award upheld). The punitive damages
explicit comments and jokes, sexual advances, and a               (once reduced by the caps) range from $100,000 to $165,000.
sexually-charged atmosphere. There was also evidence that         Thus, this Court will not disturb the jury's punitive awards.
Kennedy was fired immediately after Copello complained
to Klonowski about her treatment and that Defendants
extensively monitored, took accounts away from, and
                                                                  c. Fritkin
eventually fired Copello after she complained. The
harassment came from employees in positions of power over         Defendants also argue that Fritkin's punitive damage award
Copello and Kennedy. See Farfaras, 2005 WL 670523 at *5;          was excessive. Fritkin's award need not be reduced in order
BMW, 517 U.S. at 576-77.                                          to comply with the statutory cap, as it was initially only
                                                                  $100,000. As noted above, a court will “not normally” disturb
There is, however, some disparity between the harm suffered       an award of damages at or under the statutory cap, “as
by the plaintiff and the punitive awards. After applying          this decision is largely within the province of the jury.”
the caps, the awards are not internally consistent: Kennedy       Fine, 305 F.3d 746. Defendants' conduct was reprehensible;
receives greater punitive awards than Copello (while the          evidence was presented at trial that Defendants ignored
reverse is true of the jury's original awards), even though       Fritkin's alleged obligation until after Fritkin filed suit. A
Copello endured the Custom environment for four years             $100,000 award is in proportion to the harm the jury believed
and received greater compensatory damages. However, this          Fritkin suffered (the attorney's fees). A $100,000 award also
Court believes that such distortion will necessarily occur        is comparable to other sexual harassment cases. See Lampley,


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340 F.3d at 486 (upholding $270,000 punitive damage
award); AIC Sec. Investigations, 55 F.3d 1276 ($150,000          Liability for back pay begins at the time that the harassment
punitive award upheld). Thus, this Court upholds the jury's      causes economic injury, but may not accrue from a date
punitive award.                                                  more than two years prior to the filing of a charge with the
                                                                 Commission. When the plaintiff obtains comparable or higher
                                                                 paying employment, back pay terminates. Smith v. America
                                                                 Service Co. of Atlanta, Inc., 796 F.2d 1430 (11th Cir.1986).
C. Fritkin's Attorney Fees Award

 *12 Defendants also seek a reduction of the jury award          In addition to their arguments regarding Copello and
of $60,000 for Fritkin's attorney's fees incurred in the state   Kennedy's specific situations, Defendants argue that Copello
action. A court may disturb a jury's damage award where there    and Kennedy failed to provide information regarding
is no rational connection between the award and the evidence.    unemployment benefits and that their back pay awards, if any,
See Trytko v. Hubbell, Inc., 28 F.3d 715, 727 (7th Cir.1994).    should be reduced by any unemployment they received. It is
At trial, Fritkin's attorney testified that he had accumulated   within this Court's discretion to offset unemployment awards.
$32,000 of fees in defending the state court suit. The jury,     See E.E.O.C. v. O'Grady, 857 F.2d 383, 390 (7th Cir.1988);
however, awarded Fritkin $60,000 for attorney's fees. There      Doherty v. Crow, 2001 WL 722090 (S.D.Ind. Apr.20, 2001).
appears to this Court no rational connection between the         Deducting the unemployment benefits Plaintiff-Intervenors
award and the evidence, and thus, the award is hereby reduced    received from the amount of back pay owed to them
to $32,000.                                                      by Defendants “provide[s] [Defendants] with a windfall
                                                                 in exchange for its discriminatory actions.” Hathaway v.
                                                                 New Dimension Center for Cosmetic Surgery, 2006 WL
                                                                 1594060 (N.D.Ill., 2006) at *3. Not deducting the benefits,
D. Back Pay and Front Pay
                                                                 conversely, confers a windfall on plaintiffs. See Doherty, 2001
                                                                 WL 722090. As the Doherty court reasoned, “because the
1. Back Pay                                                      employee is the victim of unlawful discrimination, he or she
                                                                 is ‘the logical choice’ “ to receive the windfall. Id. at *16; see
Under Section 706(g) of Title VII, back pay relief is an         also Hathaway, 2006 WL 1594060 at *3. Thus, neither award
important part of Title VII's objective to deter unlawful        will be offset by unemployment benefits.
employment practices. Albermarle Paper Co. v. Moody, 422
U.S. 405, 421, 95 S.Ct. 2362, 45 L.Ed.2d 280 (1975). Under        *13 Defendants also argue that in the time since they left
Albermarle, back pay should be denied “only for reasons          Custom, both Copello and Kennedy have had children, and
which, if applied generally, would not frustrate the central     that to the extent that they were or would have been on
statutory purposes of eradicating discrimination throughout      maternity leave or other disability they should not be able
the economy and making the person whole for injuries             to recover from Defendants. Defendants suggest that this
suffered through past discrimination.” Id. at 418.               Court reduce any award made to both Plaintiff-Intervenors by
                                                                 the equivalent of 12 weeks unpaid leave for these children.
Back pay is calculated by “measuring the difference between      When determining the proper award of back pay, a court
actual earnings for the period and those which she would have    must take care not to put the plaintiff in a better position
earned absent the discrimination by the defendant.” Horn v.      than she was before termination. Hathaway, 2006 WL
Duke Homes, Div. of Windsor Mobile Homes, Inc., 755 F.2d         1594060 at *2. Plaintiff-Intervenors have not provided any
599, 606 (7th Cir.1985). Back pay awards include all fringe      information suggesting that they would not have taken twelve
benefits. Hathaway v. New Dimension Center for Cosmetic          weeks of leave or that they had vacation time accumulated
Surgery, 2006 U.S. Dist. LEXIS 6789 (N.D.Ill.2002). This         such that some of that time would have been paid. See
process is speculative, and therefore, the calculation need      id. However, Copello's submissions regarding unreimbursed
not be precise; exactness is not expected. Horn, 755 F.2d at     medical expenses for a miscarriage on June 19, 2000 preclude
606-08. “Ambiguities in what an employee ... would have          the possibility that she would have needed maternity leave
earned but for the discrimination should be resolved against     during her February 1, 2000 to June 31, 2000 back pay period.
the discriminating employer.” Steward v. General Motors          As such, this Court will deduct from Kennedy's back pay
Corp., 542 F.2d 445, 452 (7th Cir.1976).



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award the equivalent of twelve weeks of pay: $12,692.31            indication of whether she received profit-sharing benefits in
(based on a salary of $55,000 per year).                           her subsequent employment.

                                                                    *14 In a supplemental request for back pay, Copello seeks an
                                                                   additional $8,775 in unreimbursed medical expenses incurred
a. Copello
                                                                   between February 1, 2000 and July 31, 2000. Health insurance
Copello requests back pay damages in the amount of                 benefits are fringe benefits properly included in a back pay
$39,126.00, broken down as follows: (1) $3,000 in lost car         award. Hathaway, 2006 U.S. Dist. LEXIS 6789. In order to
allowance ($500 monthly between February 1, 2000 and July          recover for lost insurance coverage, a plaintiff must show that
30, 2000); (2) $1,957 in lost 401(k) contributions(between         she either incurred expenses in securing alternative insurance
February 1, 2000 and November 17, 2006); (3) $256 in lost          coverage or incurred medical expenses that would have been
profit-sharing contributions (between February 1, 2000 and         covered under the employer's insurance program. Kossman
November 17, 2006); (4) $7,072 in lost pay due to the $5,000       v. Calumet County, 800 F.2d 697, 703-04 (7th Cir.1986); see
reduction in her salary (between September 12, 1999 and            also Kolovitz v. Brokers Title Ins. Co., 2004 WL 1199775 at *4
January 31, 2000); (5) $18,066 in lost pay between February        (N.D.Ill. June 1, 2004) (test requires that plaintiff demonstrate
1, 2000 and July 31, 2000; and (6) $8,775 in unreimbursed          both that she was unable to secure alternative coverage and
medical expenses incurred between February 1, 2000 and July        incurred a medical expense). Copello has not even addressed
31, 2000. (This request reflects a revised request submitted       whether she secured, attempted to secure, or attempted and
by Plaintiff-Intervenors after this Court requested additional     failed to secure medical coverage on her own. Although
information regarding unemployment, 401(k) contributions,          Copello apparently incurred medical expenses that she paid
and severance pay). This request accounts for Copello's            out of pocket, she merely asserts in her brief that these
severance package and the fact that Copello earned more            would have been covered under the Custom insurance plan.
money in another job as of August 1, 2000. Defendants              Copello has made no attempt to substantiate that they would
apparently do not object to the $3,000 in lost car allowance,      be covered by the insurance plan (even by asserting thus in
the $7,072 in lost pay due to the $5,000 reduction in Copello's    her affidavit) and only now belatedly seeks reimbursement
salary, or basing Copello's back pay award on her $45,000          for these costs in response to the Court's request for further
salary. The lost car allowance constitutes a fringe benefit        information regarding her unemployment, 401(k) plan, and
properly included in the back pay award. This Court believes       severance package. This Court, in its discretion, denies her
that there was ample evidence at trial that the $5,000 salary      request for medical expenses.
reduction was retaliatory in motive; therefore, Copello should
be repaid this amount for the time she was still employed by       Thus, this Court awards Copello $30,095.00 in back pay.
Custom and her back pay award should be calculated based
on this amount. Additionally, Defendants do not object to the
$18,066 figure in lost pay, and this Court believes that this is   b. Kennedy
the proper amount.

Copello also requests a total of $2,213 in lost 401(k)             i. Mitigation of Damages
contributions (calculated based on Custom's matching
                                                                   A harmed party has a duty to mitigate damages by using
contribution for the period ending January 19, 2000) and lost
                                                                   reasonable and diligent efforts to secure other employment.
profit sharing (calculated based on Custom's contribution for
                                                                   42 U.S.C. § 2000e-5(g); Doe v. Oberweis Dairy, 456
the period ending January 19, 2000) between February 1,
                                                                   F.3d 704, 714 (7th Cir.2006). Defendants have asserted
2000 and November 17, 2006. (This figures vary dramatically
                                                                   an affirmative defense that Kennedy failed to mitigate her
from Copello's initial request for lost 401(k) contributions-
                                                                   damages; therefore, Defendants bear the burden of persuasion
approximately $22,000 over the same time period.) Copello's
                                                                   to establish that Kennedy (1) lacked diligence in mitigating
subsequent employment did not provide 401(k) contributions.
                                                                   her damages and (2) with reasonable diligence, there was
Thus, this Court grants Copello's request for $1,638 in 401(k)
                                                                   a reasonable chance that Kennedy might have found a
contributions. This Court, however, denies Copello's request
                                                                   comparable job. U.S. E.E.O.C. v. Gurnee Inn Corp., 914
for $256 in lost profit sharing, as Copello fails to provide any
                                                                   F.2d 815, 818 (7th Cir.1990). Plaintiff-Intervenors admit that



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                                                                   Defendants that Kennedy could have been more diligent in
Kennedy was not seeking a job between 2002 and 2004, and
                                                                   seeking work, she was reasonably so.
request no back pay for this period.

                                                                   Defendants have also failed to meet their burden of persuasion
Defendants argue that Kennedy lacked diligence in mitigating
                                                                   regarding the availability of a comparable job. Defendants
her damages. They assert that Kennedy was voluntarily a
                                                                   assert that this Court should adopt a presumption of
housewife from 1999 to 2003, that she could not recall any
                                                                   availability where the plaintiff did little to no job searching.
place she interviewed between 1999-2002, that she has no
                                                                   However, this Court has already determined that Kennedy's
documents or notes reflecting any interviews for that time
                                                                   job search, excluding the period between 2002 and 2004, was
period, and that her trial testimony does not reference sending
                                                                   reasonably diligent. Otherwise, Defendants offer no evidence
out resumes, signing up with a headhunter, or registering
                                                                   whatsoever that comparable jobs existed, except to point out
for unemployment. Defendants also point out that Kennedy
                                                                   that Copello obtained one and that Chicago is a large job
claimed to be working with a headhunter named Mark Fischer
                                                                   market. Such evidence is insufficient.
at her deposition, but could not provide any details about
him. However, Kennedy testified at trial that she looked
through newspapers, talked to friends and family, and looked
on the Internet in order to find a job. Kennedy's deposition       ii. Kennedy's Later Discovered Bad Acts
provided more thorough testimony regarding her search, and
included testimony that she had posted her resume online,          Defendants argue that Kennedy should not be awarded back
sent out resumes online, and had interviews in 1999 and 2001.      pay because she lied on her employment application. If
Additionally, Defendants offered the transcript of a voice mail    an employer discovers evidence of a plaintiff's misconduct
message with Kennedy's voice at trial, in which Kennedy            during litigation, it may limit damages to the period before
asked Mandera for a job.                                           the discovery, if the employer can show (by a preponderance
                                                                   of the evidence) that the misconduct would have resulted
 *15 The cases cited by Defendants either do not stand             in termination had the employer learned of it during
for the propositions asserted or do not necessitate that this      employment. Sheehan v. Donlen Corp., 173 F.3d 1039 (7th
Court find that Kennedy failed to undertake a reasonably           Cir.1999). Kennedy admitted at trial that she lied on her job
diligent search for an equivalent job. Unlike the plaintiffs       application by claiming to have six, rather than three, years
in Chisholm v. Foothill Capital Corp., 3 F.Supp.2d 925             of air freight experience. Defendants, however, do nothing
(N.D.Ill.1998), Meyer v. United Air Lines, Inc., 950 F.Supp.       more than assert that Kennedy would have been fired had
874, 876 (N.D.Ill.1997), and Williams v. Imperial Eastman          it discovered this falsehood, as “Custom's application made
Acquisition Corp., 994 F.Supp. 926, 931-32 (N.D.Ill.1998),         clear that misrepresentation such as those made by Kennedy
Kennedy did not engage in an activity inconsistent with            would have been cause for termination.” In order to carry their
looking for full-time work. Instead, she looked on the Internet,   burden, Defendants must do more than merely reiterate their
in newspapers, and talked to family and friends. See Wheeler       policy. See Sheehan, 173 F.3d at 1048 (“the inquiry focuses
v. Snyder Buick, Inc., 794 F.2d 1228 (7th Cir.1986) (“a            on the employer's actual employment practices, not just the
diligent Title VII plaintiff ... would at least check the want     standards established in its employee manuals, and reflects
ads, register with employment agencies, and discuss job            a recognition that employers often say they will discharge
opportunities with friends and acquaintances”). Defendants         employees for certain misconduct while in practice they do
make much of Kennedy's lack of success in finding a job,           not”). Defendants have shown merely that a decision to fire
arguing that her failure to find a job indicates that she was      Kennedy based on this falsehood would have been justified,
not reasonably diligent in seeking one. Defendants also argue      but not that they would have made it. See id.
that Mandera's threat to Copello that she would never work
in the industry again is not relevant to a consideration of
Kennedy's diligence. To this Court, however, it appears to         iii. Kennedy's Back Pay Calculation
be relevant and to excuse, to at least some extent, Kennedy's
lack of success. Mandera's threat shows that he is willing, and     *16 Kennedy seeks a total of $296,143.00 in back pay, as
perceives himself to be able, to blackball a person opposing       follows:
him. See Wheeler, 794 F.2d 1228. While this Court agrees with
                                      10/20/1998-12/31/2001                          1/1/2004-11/17/2006


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 Lost Salary                          $ 174,166.54                                   $ 151,239.00
 Commission Loss                      $ 79,166.54                                    $ 68,739.00
 Car Allowance                        $ 26,000.00                                    $ 23,100.00
 Phone and Pager                      $ 1,518.10                                     $ 1,316.00
 401(k)                               $ 13,177.00                                    $ 10,587.00
 Unpaid Salary                        $ 2,115.38 (last two weeks of work)

Having already found that Kennedy is entitled to back pay and      “highly speculative and personal nature of sales.” See id. As
denied Defendants' two defenses, this Court grants Kennedy         such, this Court will award Kennedy no commission.
the lost salary and unpaid car allowance (as a fringe benefit).
                                                                   As with the commission, this Court believes that a 401(k)
See Section regarding Copello above.
                                                                   contribution award would be unduly speculative. Kennedy
                                                                   indicates in her affidavit that she was eligible for 401(k)
Defendants argue that Kennedy's sought commission loss is
                                                                   contributions up to 7% of her salary; this Court assumes that
unduly speculative and should therefore be denied. Kennedy
                                                                   she means that Custom had agreed to match her contributions
seeks a $25,000 commission per year. Kennedy's contract
                                                                   up to that amount. Kennedy has provided no evidence that
shows that she was to be paid at a rate of $55,000 per year, and
                                                                   she made any contributions to a 401(k) while employed at
that she was eligible for a monthly commission, dependent
upon her performance. While with Custom, Kennedy made              Custom, or that she had done so in her previous position. See
no sales, generated no revenue, and therefore, received no         Inks v. Healthcare Distributors of Indiana, Inc., 901 F.Supp.
commission. While Kennedy correctly asserts that exactness         1403 (N.D.Ind.1995); see Webber v. International Paper Co.,
in back pay awards is neither expected nor required, and that      307 F.Supp.2d 119, 128 n. 6 (D.Me.2004) (court refused to
“ambiguities ... should be resolved against the employer,”         award 401(k) contributions as back pay because plaintiff was
Steward, 542 F.2d at 452; see also, Horn, 755 F.2d at              not contributing to 401(k) account at time of termination). As
606, she appears to have drawn this $25,000 figure out of          such, this Court will not order 401(k) contributions as back
whole cloth. Based on the commission program outlined              pay.
in her contract (or rather this Court's best interpretation
of that program, as it is not clear), Kennedy was eligible          *17 This Court also will not award Kennedy back pay for
for a maximum of $1,937.50 in commission monthly, or               the loss of the Nextel phone and pager. The phone and pager
$23,250 per year (assuming she sold $250,000 of LTL                were for business use and were not fringe benefits. As such,
and Air Freight combined monthly and $160,000 TL and               such amounts are not recoverable as back pay.
Local Cartage combined monthly). Although this Court is
uncomfortable giving Defendants a windfall, any commission         Lastly, this Court will not award Kennedy $2,115.38 in unpaid
award would be unduly speculative. Kennedy provides no             salary. Kennedy provides no evidence that this amount was
information as to sales figures of other Custom salesmen or        not paid (except for a letter requesting those amounts), and
even her own sales at her prior employment. See Ungar v.           Custom has provided its payroll records, indicating that it
                                                                   was, in fact, paid.
Consoli Foods Corp., 657 F.2d 909, 918-19 (7th Cir.1981)
(vacated on other grounds) (plaintiff provided court with
                                                                   This Court awards Kennedy $205,073.23 ($217,755.54 in lost
her successor's sales record and her own previous record);
                                                                   pay and car allowance less $12,682.31 in maternity leave).
see also Felts v. Radio Distributing Co., 637 F.Supp. 234,
236 (N.D.Ind.1985) (court must look to plaintiff's prior sales
record to determine commission). Although this Court must
resolve any ambiguity in Kennedy's favor, any estimate of          2. Front Pay
a commission figure based on the information provided by
Kennedy would be unduly speculative, especially given the          Title VII permits a court to “order such affirmative action as
                                                                   may be appropriate, which may include ... reinstatement or


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hiring of employees ... or any other equitable relief as the court   plaintiff would no longer enjoy the confidence and respect
deems appropriate. 42 U.S.C. § 2000e-5(g)(1). Front pay is           of his superiors once reinstated. Id. Reinstatement is also
“a monetary award equal to the gain [the plaintiff] would            problematic when the plaintiff would be supervised by the
have obtained if reinstated” and is designed to monetize             same individuals who discriminated against him in the first
the value of the lost opportunity to be reinstated. Williams         place. Id. Plaintiff-Intervenors argue that reinstatement would
v. Pharmacia, Inc., 137 F.3d 944 (7th Cir.1998); Tobey v.            be inappropriate in this case because the relationship between
Extel/JWP, Inc., 985 F.2d 330, 332 (7th Cir.1993). Front pay         Defendants and Plaintiff-Intervenors is fraught with hostility.
is measured by the difference between what the plaintiff             Defendants, however, argue that there is no hostility, and that
would have earned in the future had they been reinstated at          Plaintiff-Intervenors should be reinstated.
the time of trial and what they would have earned in the
future in their next best employment, and is calculated in a          *18 Reinstatement is infeasible. There is copious evidence
manner similar to back pay. Avita v. Metropolitan Club of            in the record that hostility between Custom and Plaintiff-
Chicago, Inc., 49 F.3d 1219, 1231 (7th Cir.1995); Wattleton          Intervenors began before they had filed suit. Before Copello
v. International Brotherhood of Boiler Makers, Iron Ship             sued, she was subjected to consistent sexual banter, prying
Builders, Blacksmiths, Forgers and Helpers, Local No. 1509,          questions of a sexual nature, and events featuring scantily-
686 F.2d 586 (7th Cir.1982). Front pay is “not intended to           clad adult entertainers. When Copello complained of sexual
assure a plaintiff's future financial success” and should extend     harassment on Kennedy's behalf, Kennedy was fired.
only to the date upon which “the sting” of discriminatory            Defendants took accounts away from Copello because she
conduct has ended. McKnight v. General Motors Corp., 973             refused to entertain “in the Custom way” and refused to give
F.2d 1366, 1371-72 (7th Cir.1992). Thus, when calculating            her timely quotes for her customers after she complained
front pay, a court should terminate its inquiry at the point         about Defendants' sexual questions. Before Kennedy sued,
at which the plaintiff “can reasonably be expected to have           she was fired the day after Copello complained of sexual
moved on to similar or superior employment.” Williams,               harassment on her behalf. Kennedy was subjected to the
137 F.3d at 954. A decision to award front pay is within             same sexually-charged environment as Copello. Many of the
the discretion of the district court. McNeil v. Economics            employees who harassed Plaintiff-Intervenors or who allowed
Laboratory, Inc., 800 F.2d 111 (7th Cir.1986) at 118.                the harassment to continue are still employed by Defendants;
                                                                     in fact, Wiszowaty has since been promoted to Sales Manager
                                                                     and would therefore have direct authority over the Plaintiff-
                                                                     Intervenors were they to be reinstated. After the Plaintiff-
a. Reinstatement
                                                                     Intervenors brought suit, Mandera threatened that they would
Because front pay is available only as an alternative                never work in the industry again; Defendants refused to rehire
remedy to reinstatement, this Court must consider whether            Copello when she asked for a job in 2000. Additionally,
reinstatement is appropriate in this case. “The equitable            Defendants testified at trial that neither woman's performance
remedy of reinstatement requires the court to strike a delicate      on the job was satisfactory. Although the jury found the
balance.” Bruso, 239 F.3d 848, 861. While reinstatement is           Plaintiff-Intervenors' testimony to be more credible, the
the “preferred remedy for victims of discrimination,” and            Defendants' testimony indicates that the Plaintiff-Intervenors
should be awarded when feasible, a court need not reinstate          would not have the respect and confidence of the Defendants
a plaintiff where the result would be “a working relationship        if they were reinstated.
fraught with hostility and friction.” Id. Where the working
relationship would be fraught with hostility, reinstatement
could “potentially cause the court to become embroiled in            b. Copello
each and every employment dispute that arose between the
plaintiff and the employer.” Id. at 861-62. A court must not,        Copello seeks $1,740 in front pay, representing six years
however, base its decision not to order reinstatement on the         of lost 401(k) contributions by Custom. (Copello initially
employer's anger or hostility toward the plaintiff merely for        sought a front pay award of $18,900, which she claimed
having filed the suit. Id. at 862. Thus, a court must identify       accounted for lost 401(k) contributions over six years. When
the source of the friction-a straightforward task when there         Copello corrected her 401(k) contribution back pay claim in
was no evidence of friction before the plaintiff filed suit.         response to this Court's request for more information, she
Id. However, reinstatement is “particularly infeasible” if the       failed to correct her front pay claim. This Court assumes that


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the resulting inconsistency was an oversight, and assumes         Title VII specifically provides for injunctive relief 42 U.S.C.
that she means to claim front pay in the amount of $1,740         § 2000e-5 (g)(1). Such relief is authorized “once the court has
based on Custom's $290 contribution in 2000 for six years.)       found that the defendant intentionally engaged in an unlawful
Copello contends that she receives no 401(k) contributions        employment practice.” E.E.O.C. v. Ilona of Hungary, Inc.,
from her current employer. As an initial matter, lost 401(k)      108 F.3d 1569, 1578 (7th Cir.1996). A prevailing plaintiff
contributions are recoverable as front pay. See Mattenson v.      need not make a special showing to obtain injunctive relief,
Baxter Healthcare Corp., 2004 WL 1244016 (N.D.Ill. June 4,        and specifically need not demonstrate that the employer
2004). Copello's period extends well beyond the point where       engages in a pattern or practice of discrimination. Bruso,
the “sting” of discrimination had ceased-the point where she      239 F.3d 848, 864. Instead, the proper inquiry is whether the
was in fact making more money in a different, but comparable      defendant's “discriminatory conduct could possibly persist in
job. While this job does not provide 401(k) benefits, her         the future.” Id. This Court believes that injunctive relief is
increased salary arguably makes up for this loss. The parties     appropriate here. Copello and Kennedy persuaded the jury
agree that Copello made more money in a new job as early as       that they were the victims of sexual harassment and retaliatory
2001. Additionally, this Court notes that Copello has already     termination. Fritkin persuaded the jury that she was likewise a
been compensated for the loss of her 401(k) contributions, as     victim of retaliation. Additionally, circumstances indicate that
she was awarded such losses in her back pay award. As such,       Defendants might engage in sexual harassment in the future.
this Court, in its discretion, denies Copello front pay.          The sexual harassment was carried out by several individuals
                                                                  still employed by Defendants, including Wiszowaty and
                                                                  Kolzow. Mandera, Klonowski, and Boyle, all still in upper
                                                                  management positions, failed to stop the harassment. The
c. Kennedy
                                                                  President and owner of the company, Mandera, was even
 *19 Kennedy seeks a front pay award of $320,000, or the          involved in the retaliation. The mere fact that Defendants
equivalent of four years at a salary of $80,000. Defendants       have, and at all times had, written policies addressing
contend that Kennedy should receive no front pay because          sex harassment and retaliation does not demonstrate that
she failed to search for a job. Although this Court held          injunctive relief is inappropriate, as these policies have been
that Kennedy was reasonably diligent in her job search for        ignored. See Bruso, 239 F.3d at 864 (“if United's upper
purposes of the back pay determination, this Court is reluctant   echelon of management felt free to ignore United's policies in
to also award Kennedy front pay for four years where she          the past, there is no reason to believe that those same members
has conducted only the barest minimum search as required          of management will abide by them in the future”). Lastly,
to recover. It concerns this Court greatly that Kennedy still     Defendants have not accepted responsibility for the violations
has been unable to find a job; Kennedy does not appear to         that occurred, but have bitterly contested every issue in this
be unemployable and Copello was able to find a job despite        suit.
Mandera's threats. Kennedy, furthermore, has already been
compensated for the loss of her job at Custom. See, Bennett
v. Smith, 2001 WL 717490 at *2 (N.D.Ill. June 26, 2001)           B. Specific Injunctive Relief Ordered
(denying front pay in court's discretion in part because the
back pay award fully compensated plaintiff). As such, this         *20 Plaintiffs request various injunctive relief measures to
Court denies Kennedy front pay in its discretion.                 prevent future sexual harassment and retaliation. This Court
                                                                  grants the bulk of these measures by enjoining Defendants for
                                                                  a period of four years: (1) from violating Title VII with respect
                                                                  to sexual harassment and retaliation; (2) to post a notice
III. INJUNCTIVE RELIEF
                                                                  informing its employees of the verdict and injunction in this
The EEOC and Plaintiff-Intervenors request various forms          suit and of the employees' right to contact the EEOC without
of injunctive relief. Defendants, predictably, argue that         fear of retaliation; (3) to provide the EEOC notice (including
injunctive relief is not warranted.                               a description of the complaint, the investigation conducted,
                                                                  and the result) of any complaint of sexual harassment or
                                                                  retaliation within thirty days from the date the complaint was
                                                                  made; (4) to provide a report to the EEOC every six months
A. Injunctive Relief is Warranted                                 detailing all complaints made and listing all individuals


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terminated by Defendants; (5) to provide written confirmation       Defendants are further enjoined from reimbursing sales
to every employee that any complaint of harassment or               personnel for costs incurred while entertaining clients at adult
retaliation received by any manager will be taken seriously         entertainment establishments which are owned or operated by
and investigated; (6) to require each of Defendants' officers,      Defendants and Defendants' owners, officers, and directors.
managers, supervisors, and employees to attend a Title VII          This measure is intended to decrease the current financial
training seminar on sex harassment, Title VII principles,           incentive for entertaining clients at the Crazy Horse. The
and retaliation on a yearly basis (sponsored by a group             Court does not grant an injunction requiring Defendants to
unrelated to any of the law firms that have represented             inform clients that they will no longer provide entertainment
the Defendants); (7) from threatening and participating             at adult entertainment establishments.
directly or indirectly in precluding Plaintiff-Intervenors from
obtaining work in the freight industry; (8) to expunge from
the Plaintiff=Intervenors' personnel files all references to this
                                                                    2. The State Court Lawsuit
lawsuit or the investigations of any complaints or charges
of sexual harassment or retaliation; and (9) to provide a            *21 Lastly, the EEOC seeks an injunction requiring Custom
notice to all Defendants' customers advising them of the            to withdraw its retaliatory lawsuit against Fritkin. The EEOC
jury verdict, the Court's judgment, and reaffirming the             argues that such an injunction is necessary to prevent further
Defendants' commitment to equal employment opportunity              retaliation against Fritkin, and that the jury found that the
in the workplace. The Court believes that by granting these         suit was retaliatory. This Court has already upheld the jury's
injunctions, the Defendants will be prevented from continuing       verdict and refused to grant judgment as a matter of law as to
to violate Title VII.                                               Fritkin's retaliation claim.

Additional relief not granted includes enjoining the                Defendants, however, argue that such an injunction would
Defendants to (1) submit periodic monitoring reports to the         run afoul of the Anti-Injunction Act, 28 U.S.C. § 2283. The
Plaintiff-Intervenors; and (2) reimburse Plaintiff-Intervenors      Act provides that “[a] court of the United States may not
and their attorneys for their fees and costs associated with        grant an injunction to stay proceedings in a State court, except
monitoring the Defendants' reports and compliance with              as expressly authorized by an Act of Congress or where
this Court's injunction. The Court believes that this relief        necessary in and of its jurisdiction or to protect or effectuate
will not measurably contribute to preventing the Defendants         its judgments.” There is, however, an exemption where the
from engaging in further Title VII violations, especially           “plaintiff in the federal court is the United States itself, or a
considering that the EEOC will already be closely monitoring        federal agency asserting ‘superior federal interest.’ ” See, Levi
the situation.                                                      Strauss, 515 F.Supp. at 642 (citing Mitchum v. Foster, 407
                                                                    U.S. 225, 235-236, 92 S.Ct. 2151, 32 L.Ed.2d 705 (1971)).
                                                                    As such, the Act does not bar the injunction sought by the
1. Adult Entertainment and the Crazy Horse                          EEOC as “the interests represented by the Commission are, in
                                                                    effect, defeated if a retaliatory state court ... action is allowed
Plaintiffs request that this Court grant an injunction              to proceed.” See id. at 642-43. Even if this exception did not
preventing Defendants from (1) sponsoring any company               apply, this Court agrees with Levi Strauss that an exception to
event at a place of adult entertainment or which includes           the reach of the Act, analogous to that articulated in Mitchum
adult entertainers; (2) providing for or reimbursing customer       would apply. See id. at 642-43.
entertainment at adult entertainment establishments; and
requiring (3) that the Defendants distribute to their customers     Defendants argue, however, that Levi Strauss is inapposite
a notice advising them that Defendants will no longer provide       because the state court suit does not allege defamation and
adult entertainment for clients. Plaintiffs argue that this         is not otherwise related to Fritkin's allegations of sexual
injunction is necessary to prevent Defendants from retaliating      harassment. While Defendants are correct that the Levi
against sales personnel who refuse to entertain clients at such     Strauss suit alleged defamation based on the very allegations
establishments. This Court believes that enjoining Defendants       made by the plaintiff in the Title VII action, this difference
from entertaining clients at places of adult entertainment          is unimportant. Regardless of the nature of the state court
is too broad. Instead, this Court enjoins Defendants from           suit against Fritkin, the jury determined that it was retaliatory
sponsoring company events at a place of adult entertainment.        in purpose and thus, an injunction is necessary to prevent


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further retaliation in the form of finally obtaining a state court
                                                                     2. Defendants' Motion Concerning the Number of
judgment against Fritkin. The cases Defendants cite in favor
                                                                     Defendants' Employees (in part);
of caution in enjoining the state court action are inapposite.
This Court, furthermore, is being cautious; it merely believes
                                                                     3. Plaintiff-Intervenors' Motion for Back and Front Pay (in
that injunctive relief is warranted in this case.
                                                                     part);

                                                                     4. EEOC's Motion for Injunctive Relief (in part);
IV. DEFENDANT'S MOTION FOR ATTORNEY'S FEES
                                                                     5. Plaintiff-Intervenors' Motion for Injunctive Relief (in part);
Without reaching the merits of the motion, this Court strikes
                                                                     and
Defendant's Motion for Attorney's Fees as a Prevailing Party.
Although a prevailing defendant may be awarded attorneys'
                                                                     6. Defendants' Motion to Reduce Fritkin's Attorney's Fees
fees (upon a finding that the plaintiff's action was “frivolous,
                                                                     Award.
unreasonable, or without foundation”), Local Rule 54.3
sets for a procedure for a fee motion seeking “any award
                                                                     The following motions are denied:
of attorneys' fees.” That Rule provides that a motion for
attorney's fees must be filed within 90 days after entry of
                                                                     1. Defendants' Motion for Directed Verdict in Favor of CEG;
judgment or settlement; judgment has not yet been entered in
this case. Additionally, before a motion for fees may be filed,
                                                                     2. Defendants' Motion to Reduce Compensatory Damages to
the movant must provide the opposing party with information
                                                                     Nominal Damages;
regarding hourly rates and time sheets reflecting the fees to
be requested, the parties must confer and attempt to agree on
                                                                     3. Defendants' Motion to Reduce Punitive Damages as
an amount of fees to be awarded, and the parties must file a
                                                                     Excessive;
joint statement outlining any remaining disputes. Local Rule
54.3. Defendants have made no attempt to comply with the
                                                                     4. Defendants' Motion to Deny Back and Front Pay;
procedure set out by Local Rule 54.3, and thus, its motion for
attorney's fees as a prevailing party is stricken as premature.
                                                                     5. Defendants' Motion Against Granting an Injunction;

 *22 Defendants' motion in opposition to attorneys' fees
                                                                     6. Defendants' Motion for Attorney's Fees; and
being granted to Plaintiff-Intervenors is likewise premature.
Plaintiff-Intervenors have, as of yet, filed no motion for
                                                                     7. Defendants' Motion Against Awarding Fees to Plaintiff-
attorneys' fees; if (or when) they do, Defendant may raise its
                                                                     Intervenors.
objections to such an award when it confers with Plaintiff-
Intervenors and in the subsequent joint statement.
                                                                     The Court enters Judgment against Defendants Custom
                                                                     Companies Inc. and Custom Executive Group in the amount
                                                                     of $1,135,168.23, broken down as specified above.
V. CONCLUSION

For the reasons stated herein, the following motions are             IT IS SO ORDERED.
granted:
                                                                     All Citations
1. Plaintiffs' Motion for a Finding that Defendants Employed
                                                                     Not Reported in F.Supp.2d, 2007 WL 734395, 100 Fair
Two Hundred Employees (in part);
                                                                     Empl.Prac.Cas. (BNA) 859

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                                                                   Plaintiff's request for injunctive relief will be granted because
                                                                   the request is closely tailored to defendants' illegal act of
                  2014 WL 282026
                                                                   retaliatory termination and properly limited in scope and
    Only the Westlaw citation is currently available.
                                                                   duration. Miller is not entitled to front pay because plaintiff
             United States District Court,
                                                                   has neither shown how long he would have continued to
                   W.D. Wisconsin.
                                                                   work for defendants had he not been terminated nor produced
                                                                   evidence of a proper discount rate to apply to any calculation
   EQUAL EMPLOYMENT OPPORTUNITY
                                                                   of front pay. Finally, defendants' motion for relief from
         COMMISSION, Plaintiff,                                    liability for the jury's award of damages will be denied
                      v.                                           because defendants have not shown that Miller's testimony
                                                                   about his child support payments was false or that it went to
      NORTHERN STAR HOSPITALITY
                                                                   the heart of the issue to be decided.
      d/b/a Sparx Restaurant; Northern
       Star Properties, LLC; and North
     Broadway Holdings, Inc., Defendants.                          BACKGROUND

                    No. 12–cv–214–BBC.                             Plaintiff brought this action in 2012, alleging that a manager
                             |                                     working for defendants had subjected Dion Miller, a former
                       Jan. 27, 2014.                              employee, to racial harassment and that defendants failed to
                                                                   take appropriate action in response. Plaintiff also contended
Attorneys and Law Firms                                            that defendants retaliated against Miller by firing him when
                                                                   he complained about the harassment. At summary judgment,
Camille Annette Monahan, Equal Employment Opportunity
                                                                   I dismissed the harassment claim but allowed the case to go
Commission, Milwaukee, WI, Laurie Ann Vasichek, Jessica
                                                                   forward on the retaliation claim.
Ann Palmer–Denig, U.S. Equal Employment Opportunity
Commission, Nicholas J. Pladson, Minneapolis, MN, for
                                                                   An evidentiary hearing was held before trial to determine (1)
Plaintiff.
                                                                   whether defendants were engaged in interstate commerce at
Michael D. Schwartz, Michael D. Schwartz, P.A. Schwartz            the time of the alleged harassment and (2) whether the three
Law Firm, Oakdale, MN, for Defendants.                             defendants were properly considered a “single employer”
                                                                   for liability purposes. Both issues were decided in plaintiff's
                                                                   favor.

OPINION AND ORDER
                                                                   At the September 2013 jury trial, Dion Miller testified that
BARBARA B. CRABB, District Judge.                                  in September 2010, he held the position of assistant kitchen
                                                                   manager. He was earning $14 an hour and was responsible for
 *1 This civil action is before the court on post trial briefing   ordering products for the restaurant.
by the parties on plaintiff Equal Employment Opportunity
Commission's requests for back pay, front pay and injunctive       When Miller reported to work on October 1, he saw that
relief on behalf of Dion Miller, who was the subject of a          someone had posted a picture of an African–American actor,
retaliatory discharge by defendants Northern Star Hospitality,     Gary Coleman, below a notice to employees about rotating
d/b/a Sparx Restaurant, Northern Star Properties, LLC and          food in the cooler. Over the notice was a defaced dollar
North Broadway Holdings, Inc. Defendants oppose the grant          bill on which someone had drawn a noose around George
of any injunctive relief or front pay. In addition, they have      Washington's neck and a swastika on his forehead; also on
moved under Fed.R.Civ.P. 60(b)(3) and (d)(3) to be relieved        the bill were drawings of a man on horseback and a “hooded
of any liability for the jury's award of $15,000 for damages       klansman” with KKK written on his head. When the front-
incurred by Miller on the ground that the award was based on       of-the-house manager arrived, Miller asked her to look at the
perjured testimony by Miller.                                      posting; she said she knew nothing about it. Miller asked his
                                                                   direct supervisor about the posting as soon as the supervisor
                                                                   arrived at work. The supervisor removed the dollar bill and


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substituted a picture of another television star (a white man)
under the reminder to rotate the food. In subsequent days,
the kitchen supervisor criticized Miller's work several times,        A. Relief from Judgment for Damages under Fed.R.Civ.P.
although he had never done so before Miller complained                60(b)(3) and (d)(3)
about the posting. Another manager met with Miller and told        Defendants do not take issue with the jury verdict as it relates
him that his work was not up to his usual standards and that       to liability, but they do object to the $15,000 compensatory
his attitude was poor. Three weeks after the incident, Miller      damages award. They have filed a motion for relief from
was fired. Although defendants had a progressive discipline        judgment under Fed.R.Civ.P. 60(b)(3) and (d)(3), both of
policy in place, they did not follow it when terminating Miller.   which relate to fraud. (Subsection (b)(3) refers to fraud by
                                                                   an opposing party; subsection (d)(3) refers to “fraud on the
 *2 At trial, Miller testified about the emotional effects of      court.”) Although no judgment has been entered in this case,
his termination. He said he “felt terrible” about having to tell   I will take up the matter as it relates to the legitimacy of the
his girlfriend and his daughter about the loss of his job; he      damages award.
and his girlfriend had to put off their plans to have a child;
he and the mother of his daughter experienced a strain in          Since the trial, defendants have found evidence that in
their relationship because he was unable to pay child support      their opinion shows that Miller was the subject of seven
to her, trial tr., dkt. # 198, at 3–45; and he felt “less than a   different orders to show cause relating to his non-payment
man” because he was no longer the primary bread winner. Id.        of support for his daughter. They argue that this is proof
He found it difficult to look for work day after day without       he was lying when he testified he had a good relationship
success and he went through “a little bit of a depression,” put    with his daughter's mother before his termination. Plaintiff
on weight and did not go out much. Id. at 3–46.                    does not agree. First, it points out that the court records on
                                                                   which defendants rely relate to Miller's younger daughter,
In her closing argument, plaintiff's counsel argued that Miller    who is the child of a different woman and not the child about
had suffered depression, that his termination had affected his     whom he testified at trial. Second, the court records are not
family and his family planning, that it caused him to cry,         reliable evidence because they include little information and
to feel bad about his life and it “turned his whole world          what they do provide is devoid of context. Third, Miller's
upside down.” Id. at 3–96–97. She did not say anything about       testimony related to his subjective thoughts and feelings about
the strain placed on his relationship with the mother of his       his relationship with the mother of his older daughter. Plaintiff
daughter.                                                          adds that defendants had an opportunity to examine Miller
                                                                   about his claims for emotional distress when they deposed
The jury found that when Dion Miller complained about the          him, but never took advantage of it.
allegedly racial posting at his workplace, he was acting on
a reasonable, good faith belief that the posting was racially       *3 Defendants' showing falls far short of proof that Miller
offensive. It found also that defendants would not have            committed perjury requiring relief from the jury's award. To
terminated him from his cook's job had he not complained           make such a showing, defendants would have to show not
about the posting. A day later, the jury awarded him $15,000       only that Miller's testimony was intentionally false but that
in compensatory damages, but refused to award any punitive         his testimony went to the heart of the issue before the court.
damages, despite its finding that defendants had acted with        His relationship with the mother of his daughter was only one
reckless disregard for Miller's federal protected rights.          of several matters that he testified had caused him distress
                                                                   and plaintiff's counsel never even mentioned it in her closing
                                                                   argument. It was not so critical to the jury's decision as to
                                                                   support a damages award by itself. Certainly, it did not go
OPINION                                                            to the “the heart of the matter,” which is what is required to
                                                                   merit reopening of a judgment under Rule 60(b)(3). Metlyn
The jury's verdict makes it necessary to decide (1) the amount
                                                                   Realty Corp. v. Esmark, 763 F.2d 826, 832 (7th Cir.1985)
of back pay to which Miller is entitled; (2) whether Miller is
                                                                   (“an adverse party's fraud or subornation of perjury permits
entitled to any front pay and if so, how much; (3) whether
                                                                   relatively free reopening of the judgment when the perjury
plaintiff's motion for injunctive relief should be granted; and
                                                                   goes to the heart of the issue” (citing Peacock Records, Inc.
(4) whether defendants are entitled to relief from the damages
                                                                   v. Checker Records, Inc., 365 F.2d 145, 147 (7th Cir.1966),
award.
                                                                   and Harre v. A .H. Robins Co., 750 F.2d 1501, 1503 (11th


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Cir.1985)). The motion for relief from the jury's award of           the interest calculated in the same manner and at the same
damages under Rule 60(b)(3) and 60(d)(3) will be denied.             rate used by the Internal Revenue Service for calculating
                                                                     interest on unpaid taxes. 26 U.S.C. § 6621. Defendants have
                                                                     not objected to the use of this interest rate.

B. Back Pay Award
                                                                     The award will not be taxed because Miller will be taxed on
Defendants have several objections to the back pay award,            the award when he receives it. However, I will grant plaintiff's
one of which is that Miller is not entitled to back pay for          request for a 15% increase in the back pay award, to account
the period in which the Sparx Restaurant was closed for              for the fact that Miller will have to pay taxes on a lump sum
conversion to a Denny's franchise. According to the trial            award that he would not have had to pay had he received the
record, however, defendants kept certain employees on their          money spread out over the more than three years since he was
payroll during the conversion period, using them for help with       terminated improperly.
demolition and clean up. It was defendants' burden to show
that Miller would not have been kept on for this purpose and
they did not offer any evidence to show that he would not have       C. Front Pay Award
been, so I must assume he would have been retained.
                                                                     Defendants object to any award of front pay on the ground that
Defendants criticized the efforts that Miller put into finding       plaintiff failed to give the court “ ‘the essential data necessary
a replacement job, noting that he looked for jobs only one           to calculate a reasonably certain front pay award,’ “ dfts'
to two days a week and that he never submitted a résumé              br., dkt. # 200, at 23 (quoting McKnight v. General Motors
or letter of recommendation from former employers. Miller            Corp., 973 F.2d 1366, 1372 (7th Cir.1992)). (Defendants do
started looking for work the week he was terminated and              not argue that Miller should have sought reinstatement.) This
applied for two or more jobs every week thereafter. He drove         “ ‘includes the amount of the proposed award, the length of
up to 60 miles from home to apply for jobs and he testified          time the plaintiff expects to work for the defendant and the
that he could not afford to do more job hunting. Although            applicable discount rate.’ “ Id.
he limited his search to restaurant jobs for a long time, that
limitation does him bar him from obtaining back pay. Victims         Plaintiff has set forth the amount of the proposed award, but
of retaliatory discharges are not required to look for jobs in       has said nothing about how long Miller would have expected
other positions or in other lines of work. Ford Motor Co. v.         to work for defendants or about the applicable discount rate.
EEOC, 458 U.S. 219, 231 (1982). Defendants have not shown            Without any evidence on these factors, plaintiff has failed to
that Miller failed to exercise reasonable diligence in his efforts   sustain its request for a front pay award to Miller. Bruso v.
to find work.                                                        United Airlines, Inc., 239 F.3d 848, 862 (7th Cir.2001).

Defendants object to plaintiff's failure to make allowance in
its proposed back pay award for holidays or days of sick leave
                                                                     D. Injunctive Relief
that Miller would have taken. Defendants did not put in any
evidence about the number of sick days and holidays Miller           As injunctive relief, plaintiff asks the court to (1) to bar
had taken in the past or even the average number of days             defendants from discharging employees in retaliation for
that other kitchen crew members took. In the absence of such         complaints about racially offensive postings in defendants'
evidence, it would be improper to speculate about whether            workplace; (2) require defendants to adopt policies that
Miller would have taken any days off and, if so, how many            explicitly prohibit actions made unlawful under Title VII;
he would have taken.                                                 (3) require defendants to adopt an investigative process with
                                                                     regard to discrimination claims; and (4) require them to
 *4 Defendants have shown no reason why Miller should not            provide annual training to Chris Brekken and other managers
be awarded the damages plaintiff is requesting: $39,775.59           regarding Title VII. Defendants object to this request, arguing
in back pay through August 31, 2013, plus $19.20 per week            that the proposed injunctions are nothing more than telling
(the difference between what he earned at Sparx and what             defendants to “obey the law” and that such injunctions are not
he is able to earn now) through the date of judgment. The            favored by the law. In addition, defendants say that plaintiff
interest due on the award will be added to that amount, with         does not come before the court with clean hands: it did not


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serve the Notice of Claim on defendants within ten days of           dollar bill violated any workplace policy indicates that he
Miller's charge of discrimination, it made a determination of        has an incomplete understanding of the concept of racial
reasonable cause without interviewing key witnesses, it failed       discrimination.
to make a Determination on Reasonable Cause within 120
days from the filing of the Charge of Discrimination, it did not     Plaintiff's third request is for an injunction requiring
file this civil action within 180 days of the filing of the Charge   defendants to adopt a complaint and investigative procedure
of Discrimination, it failed to work to eliminate the alleged        for internal complaints of retaliation. Defendants do not deny
wrongful conduct by engaging in good faith conciliation              the merits of the request, but contend that no injunction
and it based its damage request on Miller's misleading and           is needed because the topic is covered by the materials
perjured testimony.                                                  now in use by Denny's, the franchisee. However, a review
                                                                     of Denny's Employee Handbook, trial exh. # 12, shows
 *5 It is too late for defendants to raise a claim of “unclean       gaps in procedures for both complaints and investigations.
hands”; the time for doing so was at the outset of the litigation.   The section on employee complaints of harassment says
At this junction, plaintiff's alleged procedural failings are        only that such complaints should be made to “someone in
irrelevant to the question on injunctive relief. The question        management” or by contacting “anyone at Denny's company
for defendants is whether injunctive relief is unnecessary.          offices.” Id. at 8 (Sparx 963).
Defendants did not show that it is, so I will consider the
nature, scope and length of plaintiff's proposal to determine         *6 Finally, plaintiff asks for annual training on rights and
whether the requested injunctive relief is proper.                   responsibilities under Title VII, including the provisions on
                                                                     retaliation, for Christopher Brekken and for all managers,
Defendants are correct when they say that the courts do not          including supervisors, working for defendants. Although
favor injunctions that merely require the subject to obey            defendants say that the injunction is unnecessary because it
the law, but plaintiff's claim for relief does not fall into         duplicates training already provided by Denny's, they do not
that category. Its first request is directed to barring the          say that Christopher Brekken has received the training.
three defendants from discharging a person in retaliation for
complaints about racially offensive postings in defendants'          I conclude that the limited injunctive relief sought by plaintiff
workplace. It is limited in time to three years. Defendants          is appropriate to the violation of law in this case. It is not
characterize this proposal as an overly broad injunction             simply an “obey the law” injunction, but tailored to the
not to discharge employees for unlawful reasons, but the             deficiencies identified in defendants' operations and it is
characterization is unjust. The injunction is narrowly framed        limited in duration.
and tied to the particular unlawful conduct in this case.
Moreover, it would last for only three years, so it escapes the
criticism that rightfully attaches to injunctions of unlimited
                                                                     ORDER
length. E.g., EEOC v. AutoZone, Inc., 707 F.3d 824, 844 (7th
Cir.2013) (reversing lower court's imposition of permanent           IT IS ORDERED that plaintiff Equal Employment
injunction requiring defendant to make accommodations for            Opportunity Commission's request for back pay and
persons covered by Americans with Disabilities Act).                 injunctive relief is GRANTED and its request for front pay
                                                                     is DENIED; the motion filed by defendants Northern Star
Plaintiff's second request is for an injunction requiring the        Hospitality, d/b/a Sparx Restaurant, Northern Star Properties,
adoption of a workplace policy explicitly barring retaliation        LLC and North Broadway Holdings, Inc. under Fed.R.Civ.P.
for opposing matters made unlawful under Title VII. Such an          60(b)(3) and (d)(3) for relief from judgment (construed as
injunction would cover discharges for many more things than          a motion to overturn the jury's award of damages to Dion
objecting to the posting of a racially discriminatory posting,       Miller), dkt. # 207, is DENIED.
but it is not so broad as to be objectionable. Again, defendants
have not shown that this injunction is unnecessary. Although         FURTHER, IT IS ORDERED that
defendants no longer employ many of the people involved
in the racial posting incident, Christopher Brekken remains          1. defendants are enjoined
the dominant person in each of the defendant organizations
and his testimony that he did not think the posting of the



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                                                                  31, 2014, plus interest of $2,2565.29 for the period through
  a. from discharging employees in retaliation for complaints
                                                                  August 31, 2013 and additional interest for the period from
  about racially offensive postings in defendants' workplace;
                                                                  September 1, 2013–January 31, 2014, which plaintiff is to
  b. from failing to adopt policies that explicitly prohibit      calculate using the Internal Revenue Service interest rate and
  actions made unlawful under Title VII;                          submit to the court for approval no later than February 3,
                                                                  2014; defendants may have until February 13, 2014 in which
  c. from failing to adopt an investigative process with regard   to raise any objections they have to the interest calculation;
  to discrimination claims; and                                   and

  d. from failing to provide annual training to Chris Brekken
                                                                  4. Plaintiff is awarded an additional amount of back pay equal
  and other managers, including supervisors, regarding Title
                                                                  to 15% of the back pay award, including interest, to reimburse
  VII; and
                                                                  him for the extra taxes he will owe on the lump sum payment
                                                                  he is to receive, to be determined by the court once the interest
2. Dion Miller is awarded $15,000 for emotional damages;
                                                                  calculation has been approved.

3. Dion Miller is awarded back pay in the amount of
$39,775.59 for the period through August 31, 2013 and             All Citations
$422.40 for the period from September 1, 2013–January
                                                                  Not Reported in F.Supp.3d, 2014 WL 282026

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                                                               At the conclusion of a four day jury trial, the jury returned
                                                               a verdict for plaintiff and against defendant awarding
                  2011 WL 3585599
                                                               plaintiff two hundred one thousand dollars ($201,000.00) in
    Only the Westlaw citation is currently available.
                                                               compensatory damages consisting on one thousand dollars
             United States District Court,
                                                               ($1,000.00) for back pay and benefits and TWO HUNDRED
                   E.D. Louisiana.
                                                               THOUSAND DOLLARS ($200,000.00) for emotional pain
                                                               and suffering, inconvenience, mental anguish, and loss of
           EQUAL EMPLOYMENT
                                                               enjoyment of life, and two hundred fifty thousand dollars
         OPPORTUNITY COMMISSION                                ($250,000.00) in punitive damages. (Rec.Doc. No. 58–2).
                  v.                                           Following post-trial hearings, the Court reduced the jury
                                                               award to comply with statutory caps and applicable case
            BOH BROTHERS
                                                               law, see Rec. Doc. Nos. 93, 94, awards set at $301,000.00.
      CONSTRUCTION COMPANY, LLC.                               The proposed Judgment of Injunctive Relief in the record
                                                               is found at Rec. Doc. No. 60–3. Following the hearing on
                Civil Action No. 09–6460.                      the Motion for Injunctive Relief, the Court directed and the
                             |                                 parties submitted revisions on that issue via facsimile.
                       Aug. 16, 2011.
                                                               Injunctive relief must be reasonably tailored to the specific
Attorneys and Law Firms
                                                               facts of this case, as reflected by the trial record. Issuance of
Gregory T. Juge, Tanya Lea Goldman, Equal Employment           an injunction “rests primarily in the informed discretion of the
Opportunity Commission, New Orleans, LA, James Philip          district court.” Marshall v. Goodyear Tire & Rubber Co., 554
Sacher, U.S. Equal Employment Opportunity Commission,          F.2d 730, 733 (5th Cir.1977). Additionally, injunctive relief
Houston, TX, for Equal Employment Opportunity                  is warranted where the EEOC acts in the public interest and
Commission.                                                    seeks remedies designed to vindicate the underlying policies
                                                               of Title VII and the CRA. (Rec. Doc. No. 60–1 at 3). The
Walter W. Christy, Erin R. Wedge, Jacob C. Credeur, Coats,     United States Supreme Court, in E.E.O.C. v. Waffle House,
Rose, Yale, Ryman & Lee, New Orleans, LA, for Boh              Inc., 534 U.S. 279, 295–96 (2002) stated:
Brothers Construction Company, LLC.
                                                                  [W]e are persuaded that, pursuant to Title VII and the
                                                                  ADA, whenever the EEOC chooses from among the many
OPINION                                                           charges filed each year to bring an enforcement action in
                                                                  a particular case, the agency may be seeking to vindicate
IVAN L.R. LEMELLE, District Judge.                                a public interest, not simply provide make-whole relief for
                                                                  the employee, even when it pursues entirely victim-specific
 *1 Before the Court is Plaintiff, EEOC's Motion for              relief. To hold otherwise would undermine the detailed
Injunctive Relief seeking an order requiring defendant to         enforcement scheme created by Congress simply to give
effectuate a system to prevent and promptly correct unlawful      greater effect to an agreement between private parties that
sexual harassment at Defendant Boh Brothers Construction          does not even contemplate the EEOC's statutory function.
Company, LLC's facilities; to mandate distribution of said     (Rec. Doc. No. 60–1 at 4). Noteworthy for our purposes is
policy to all current employees and all new employees within   EEOC v. Mid–American Specialties, Inc., where the District
thirty days of hire; to require delivery to all employees of   Court ordered relief similar to that proposed here. EEOC
a letter notifying them of the verdict in this case, among     v. Mid–American Specialties, Inc., No. 09–2203, 2011 WL
numerous other items. (Rec.Doc. No. 60). For the reasons       1206163 (W.D.TN. Mar. 24, 2011).
pronounced below,
                                                                *2 Defendant argues that injunctive relief is unwarranted,
IT IS ORDERED that Plaintiff's Motion for Injunctive Relief    and alternatively, if the Court decides such relief is
(Rec.Doc. No. 60) as subsequently redacted, is GRANTED,        appropriate, that the relief proposed by Plaintiff is
judgment will issue hereafter.                                 “unnecessary, unreasonable, burdensome, and duplicative of
                                                               the substantial relief granted by the jury in its verdict and



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should be limited accordingly.”1 (Rec. Doc. No. 66 at 17).            Matter of Law (Rec.Doc. No. 77).3 Those motions, along
More specifically, Defendant submits that:                            with statements of Defendant's spokeswoman published in
                                                                      the Times–Picayune article submitted by Defendant that Boh
                                                                      Brothers is “confident of a reversal” render meaningless
   [T]he company, since conclusion of trial, has begun the            Defendant's suggestion that jury award will have a deterrent
   process of implementing a new harassment and retaliation           effect.
   policy. This policy will be provided to employees and
   managers alike. The company intends to deliver the new              *3 Defendant also cites to EEOC v. E.I. DuPont de Nemours
   policy to individual employees, place it in the “Boh               and Co., 03–1605, 2004 WL 3048748 (E.D.La. Jan. 4, 2004),
   Picture,” and post the policy on jobsite bulletin boards. The      a case which Plaintiff states “did not involve a jury verdict
   company is also in the process of developing plans to better       regarding Defendant's policies.” (Rec. Doc. Nos. 66 at 9; 71
   and more efficiently instruct supervisors and employees            at 5).
   regarding harassment and other forms of discrimination.
   Finally, Chuck Wolfe Resigned his employment with the              Forty-two United States Code § 2000e–5(g)(1) provides that
   company on April 4, 2011 after being demoted to the                “the [trial] court may enjoin the respondent from engaging
   position of operator; he no long poses a threat of continued       in ... unlawful employment practice[s], and order such
   harassing behavior.                                                affirmative action as may be appropriate, ... or any other
   (Rec. Doc. No. 66 at 3). It should be noted that Plaintiff         equitable relief as the court deems appropriate.” 42 U.S.C.
   correctly points out in its reply that Defendant offers no         § 2000e–5(g)(1) (emphasis added). The district court has
   sworn testimony to support its claims relative to alleged          broad discretion in granting post-trial injunctive relief in Title
   post-trial remedial work.                                          VII cases. EEOC v. Frank's Nursery & Crafts, Inc., 177
Defendant cites in support of its contentions Armstrong v.            F.3d 448, 467 (6th Cir.1999); see also Spencer v. Gen. Elec.
Turner Industries, Inc., 141 F.3d 554 (5th Cir.1998). That            Co., 894 F.2d 651, 660 (4th Cir.1990) (“[A] district court
case involved a private plaintiff who brought suit against a          must ... exercise its discretion ... to ensure that discrimination
potential employer where the employer required a pre-offer            does not recur.”). Permanent injunctive relief is available
medical exam allegedly in violation of Section 12112(d)(2)            even where the EEOC has not alleged a pattern or policy
(A) of the ADA. The EEOC issued a “right-to-sue” letter and           of discrimination. Frank's Nursery, 177 F.3d at 468. Once
suit was filed thereafter. The EEOC acted as amicus but was           an employer has been held liable under Title VII, it is the
not a party to the litigation. Affirming dismissal of Plaintiff's     employer's burden to offer evidence that the unlawful conduct
12112(d)(2)(A) claim, the Fifth Circuit held that “Armstrong          will not recur. Spencer, 894 F.2d at 660 n. 13. The ultimate
has not demonstrated any injury and injunctive relief ....“ Id.       burden of showing that injunctive relief is appropriate,
at 558. Armstrong is redressable by damages, and he lacks             however, lies with the EEOC. Id. Federal Rule of Civil
standing to seek declaratory distinguishable from the case at         Procedure 65(d) provides that an order granting injunctive
bar as that case involved a private plaintiff seeking relief only     relief must “state its terms specifically” and “describe in
for himself, whereas here, and as noted in jurisprudence, the         reasonable detail ... the act or acts restrained or required.”
suit was filed by the EEOC who “may be seeking to vindicate           Fed.R.Civ.P. 65(d)(1)(B)-(C).
a public interest, not simply provide make-whole relief for
the employee, even when it pursues entirely victim-specific           As noted earlier, each party submitted proposals for injunctive
relief.” Waffle House, 534 U.S. at 295–96. Although the only          relief. The EEOC made several revisions to its original draft
Fifth Circuit case in the section of Defendant's opposition           which effectively lessened certain administrative burdens
listing “factors” is distinguishable from the case at bar, at least   for implementing remedial and other measures. Defendant's
one such factor merits further attention.2                            proposal, while not as detailed as the EEOC's proposal,
                                                                      contained eleven measures for relief, reserving the right to
At different points in its opposition, Defendant submits that         oppose entitlement overall.
“the monetary compensation and punitive damages awarded
are sufficient to deter future violations by Boh Brothers” (Rec.      Based on the record trial evidence along with hearings
Doc. No. 66 at 5, 8). However, Defendant has filed a Motion           held on post-trial motions, including the hearing and post-
to Remit the Judgment (Rec.Doc. No. 68); a Motion for New             hearing submissions relative to injunctive relief, we find that
Trial (Rec.Doc. No. 67); and a Motion for Judgment as a               the EEOC has convincingly shown the appropriateness for


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that relief. Jurisdiction will be retained to implement and
enforce terms for injunctive relief, including but not limited to     All Citations
modifying same, as needed, including shortening applicable
time periods upon showing of good cause.                              Not Reported in F.Supp.2d, 2011 WL 3585599


Footnotes
1       For instance, Defendant opposes section three of the Proposed Judgment of Injunctive Relief that would, if ordered,
        require Defendant to deliver a letter to all employees advising them of the verdict in this case and stating Defendant's
        intolerance of sexual harassment or retaliation. (Rec. Doc. No. 66 at 13). Defendant “submits that there is no reason
        for it to have to send a copy of the verdict to its employees other than to satisfy the EEOC's desire to gain publicity ....
        [s]ending the verdict will do nothing but raise questions.” Id.
2       Defendant's opposition states, in pertinent part “[a] review of Fifth Circuit case law and that of other jurisdictions discussed
        below indicate [sic] that equitable relief, such as training, is generally granted only when certain factors are present
        including: ... (3) the monetary compensation and punitive damages awarded are not sufficient to deter future violations
        by the employer.” (Rec. Doc. No. 66 at 4).
3       Boh Brothers, in its Motion to Remit the Judgment “seeks remittitur of the jury award ... on grounds that the awards are
        excessive and that they are not supported by sufficient evidence in the record.” (Rec. Doc. No. 68–1 at 1).


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                                                                For the reasons explained below, the court will award
                                                                McKewen a total of $123,936.15 in back pay and
                  2021 WL 3487668
                                                                prejudgment interest, and it will grant EEOC's request for a
    Only the Westlaw citation is currently available.
                                                                permanent injunction. The court will deny EEOC's request for
     United States District Court, W.D. Wisconsin.
                                                                front pay.
   EQUAL EMPLOYMENT OPPORTUNITY
         COMMISSION, Plaintiff,
                                                                BACKGROUND
                 v.
          ROCKAUTO, LLC, Defendant.                             RockAuto is an online retailer of motor-vehicle parts
                                                                and accessories. Glenn McKewen applied for a position
                       18-cv-797-jdp                            with RockAuto as a supply chain manager on October
                             |                                  24, 2016, when he was 64 years old. When McKewen
                    Signed 08/09/2021                           applied, Catherine Cahoon screened all job applications, and
                                                                RockAuto general manager James Taylor made the final
Attorneys and Law Firms                                         hiring decisions. Cahoon screened McKewen's application
                                                                using a standardized score sheet. McKewen's resume stated
Bradley Fiorito, Elizabeth B. Banaszak, Ethan M. M.
                                                                that he had received a master's degree in marketing and
Cohen, U.S. Equal Employment Opportunity Commission,
                                                                supply chain management and a bachelor's degree in
Chicago, IL, Leslie Nicole Carter, U.S. Equal Employment
                                                                business administration, but it did not say when he received
Opportunity Commission, Milwaukee, WI, for Plaintiff.
                                                                these degrees. Cahoon emailed McKewen to request that
Amy O. Bruchs, Kurt Ellison, Michael Best & Friedrich, LLP,     information; McKewen replied that he had received his
Madison, WI, for Defendant.                                     bachelor's degree in 1978 and his master's degree in 2003.
                                                                Cahoon gave McKewen's application a score of eight points,
                                                                which was not high enough to automatically advance in
                                                                the hiring process. RockAuto sometimes allowed applicants
OPINION and ORDER
                                                                with lower scores to proceed in the hiring process on a
JAMES D. PETERSON, District Judge                               discretionary basis, a process RockAuto calls a “Jim Pass.”
                                                                But RockAuto did not give McKewen a Jim Pass, rejecting
 *1 Plaintiff Equal Employment Opportunity Commission           his application based on his score.
(EEOC) brought this suit on behalf of charging party Glenn
McKewen under the Age Discrimination in Employment              McKewen continued to look for work after he was rejected
Act (ADEA). A jury found that defendant RockAuto, LLC           by RockAuto. He obtained work with Milwaukee Electronics
violated the ADEA when it refused to hire McKewen. Dkt.         from February 2017 to October 2017, earning $44,060.94 in
153.                                                            wages. He continued to apply for jobs until late 2018, when
                                                                he stopped looking for work.
This opinion and order addresses remedies. Front pay and
injunctive relief are equitable remedies to be decided by
the court, but the parties stipulated that the court would
                                                                ANALYSIS
also determine back pay and mitigation after trial. Dkt. 133,
at 1. Accordingly, the court must decide four issues: (1)       A. Back pay
whether McKewen is entitled to back pay and front pay;          The ADEA permits an award of back pay (that is, the wages
(2) the amount of any pay; (3) whether McKewen failed to        and benefits that McKewen would have received had he been
mitigate his damages; and (4) whether the court should issue    hired) if the plaintiff has proven age discrimination. Barton
a permanent injunction against RockAuto. The parties agree      v. Zimmer, Inc., 662 F.3d 448, 545 (7th Cir. 2011). As the
that McKewen should receive prejudgment interest for any        plaintiff, EEOC has the initial burden of establishing the
back pay that the court awards.                                 back pay amount, then the burden “shifts to the defendant
                                                                to show that the plaintiff failed to mitigate damages or
                                                                that damages were in fact less than the plaintiff asserts.”


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Hutchison v. Amateur Elec. Supply, Inc., 42 F.3d 1037, 1044         had emailed his resume to Master Lock three or four months
(7th Cir. 1994). A claim for back pay must be supported             after his July 17 interview.
by evidence, but it does not have to be calculated with
“unrealistic exactitude.” Stewart v. Gen. Motors Corp., 542         RockAuto must show that McKewen had a reasonable
F.2d 445, 452 (7th Cir. 1976).                                      likelihood of finding comparable work if he had continued
                                                                    his efforts. E.E.O.C. v. Gurnee Inn Corp., 914 F.2d 815, 818–
 *2 EEOC seeks $167,991 in back pay for McKewen, plus               19 (7th Cir. 1990). RockAuto's chief argument on this point
$19,385 in prejudgment interest. Dkt. 168, at 15. RockAuto          is that McKewen “was able to obtain employment relatively
disputes five issues: (1) whether McKewen failed to mitigate        quickly with Milwaukee Electronics” in 2017 after RockAuto
his damages; (2) the time period for which McKewen is               rejected his application. Dkt. 167, at 5. But RockAuto
entitled to back pay; (3) the hourly wage that should be used to    doesn't challenge McKewen's testimony that he applied for
calculate McKewen's lost wages; (4) the value of the benefits       multiple jobs per week between October 2017 and June
McKewen would have received from RockAuto had he been               2018 with no success, and it offers no reason to believe that
hired; and (5) the amount that McKewen's damages should be          McKewen's continued efforts would have been successful,
offset to reflect the wages and benefits that he received from      such as “evidence concerning the availability of comparable
Milwaukee Electronics. The court addresses these arguments          jobs,” Gurnee Inn, 914 F.2d at 818. See also Gracia v.
separately.                                                         Sigmatron Int'l, Inc., 130 F. Supp. 3d 1249, 1257 (N.D. Ill.
                                                                    2015) (no failure to mitigate where employer “offer[ed] no
                                                                    evidence on the availability of work comparable to [the]
   1. Mitigation                                                    lost position”) (emphasis in original). As the Gracia court
To establish the affirmative defense that McKewen failed            noted, “[I]t is appropriate to place the burden of proof on
to mitigate his damages, RockAuto has the burden to                 the employer to tamp-down damages because the only reason
establish two elements: (1) McKewen failed to exercise              [the court is considering mitigation] is that the employer has
reasonable diligence to mitigate his damages; and (2) there         engaged in illegal discrimination.” Id. (emphasis in original).
was a reasonable likelihood that McKewen might have                 RockAuto has failed to meet its burden on the second element,
found comparable work by exercising reasonable diligence.           so its argument that McKewen failed to mitigate his damages
Stragapede v. City of Evanston, Ill., 865 F.3d 861, 868 (7th        after June 30, 2018, fails.
Cir. 2017); Hutchinson, 42 F.3d at 1044.

At his deposition, McKewen testified that after he was                 2. Time period
terminated from Milwaukee Electronics, he applied for at             *3 The purpose of back pay is to make the victim of
least four jobs per week through June 30, 2018, when                discrimination whole, so there is “a strong presumption” that
he stopped regularly applying for work and changed his              a victim of discrimination is “entitled to a back pay award
LinkedIn profile to state that he had retired as of January 2018.   on the basis of what [he] would have earned absent the
He also testified that he attended a job interview with Master      discrimination.” E.E.O.C. v. Ilona of Hungary, Inc., 108 F.3d
Lock on July 17, 2018, but he was not hired. And he testified       1569, 1579 (7th Cir. 1997). Back pay is typically calculated
that about three or four months after the July 17 interview,        for the time period between the adverse employment action
Master Lock emailed him about another opening and invited           and the date of the judgment. See, e.g., Gracia, 130 F. Supp.
him to submit his resume. He did so, but he did not receive         3d at 1255 (citing 7th Cir. Pattern Civil Jury Instruction 3.11
an interview for the position.                                      (2015)). But the calculation is a bit more complicated in this
                                                                    case.
RockAuto concedes that McKewen mitigated his damages
through June 30, 2018, but it contends that he did not mitigate     The parties disagree about both the start date and the end
beyond that date. RockAuto addresses most of its arguments          date for McKewen's back pay. As for the start date, EEOC
toward the first element of the defense, contending that            contends that McKewen is entitled to back pay beginning
McKewen failed to exercise reasonable diligence past June           on November 7, 2016, “the first full pay period after he
30 because he was no longer looking for work beyond that            was rejected” after submitting his application on October 24.
date. EEOC contends that McKewen continued to look for              Dkt. 168, at 8. But the question is when McKewen would
work through November 21, based on his testimony that he            have started earning wages and benefits from RockAuto had
                                                                    he been hired, not when RockAuto rejected his application.


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EEOC presents no evidence regarding how much time                 range, from $31 to $42/hour.” Dkt. 37-29, at 15. EEOC also
typically elapsed between when applicants submitted their         cites a declaration from EEOC investigator Jacob Sobiesczyk,
applications and when they began work. Nor does EEOC              who says that according to notes he took during EEOC's
address the fact that if McKewen had received a Jim Pass, he      investigation of McKewen's age-discrimination charge, a
would still have been required to complete a test regarding       RockAuto employee said that the pay range for supply chain
his knowledge of auto parts and to participate in an in-person    managers was $36 to $50 per hour. Dkt. 164, ¶ 12. But again,
interview before receiving a job offer.                           this is not evidence that RockAuto paid a starting wage above
                                                                  the minimum.
The court agrees with RockAuto that November 28 would
have been a more realistic start date for McKewen. As              *4 EEOC says that this disagreement is an ambiguity that
RockAuto notes, comparator Emily Mei applied around the           should be resolved against RockAuto. See, e.g., Stewart, 542
same time that McKewen applied, and more than five weeks          F.2d at 452 (“[A]mbiguities in what an employee ... would
passed between her application submission and her hire date.      have earned but for discrimination should be resolved against
EEOC doesn't address this evidence in its response brief. See     the discriminating employer.”). But EEOC hasn't identified
id. So the court will calculate McKewen's back pay beginning      any ambiguity. EEOC has adduced no evidence that suggests
on November 28, which is likewise about five weeks after          that any supply chain managers were hired at an initial pay
McKewen applied.                                                  rate above the bottom of the pay range. The court concludes
                                                                  that McKewen would have been hired at the minimum pay
As for the end date, EEOC doesn't seek back pay through           rate. And EEOC doesn't contend that McKewen would have
the date of judgment; rather, it seeks back pay through only      received a raise after his hire date (other than across-the-board
November 21, 2018, around the time that McKewen made              increases to the minimum pay rate). So the court will calculate
his last job inquiry by sending his resume to Master Lock.        McKewen's lost wages based on $31 per hour through April
EEOC doesn't explain why it requests back pay through only        2017 and $36 per hour afterward.
that date, but the court infers that McKewen was not actively
looking for work and not genuinely interested in working          Using these pay rates and the beginning and end dates
beyond that date.                                                 discussed above, the court calculates McKewen's lost wages
                                                                  as follows:
The court concludes that McKewen is entitled to back pay
from November 28, 2016, through November 21, 2018.                  November 28 to December 31, 2016: five 40-hour weeks
                                                                    at $31 per hour = $6,200

   3. Hourly wage                                                   January 1 to April 30, 2017: 17 40-hour weeks at $31 per
The parties agree that the minimum pay rate for supply chain        hour = $21,080
managers was $31 per hour when McKewen applied and that
                                                                    May 1 to December 31, 2017: 35 40-hour weeks at $36 per
it was increased to $36 per hour in May 2017. And they agree
                                                                    hour = $50,400
that the maximum pay rate was $42 per hour until May 2017,
when it was increased to $50 per hour. But the parties disagree     January 1 to November 21, 2018: 46 40-hour weeks at $36
on the rate McKewen would have been paid had he been hired.         per hour = $66,240

EEOC contends that McKewen's damages should be based on             Total lost wages: $143,920.
the maximum pay rate because of his extensive experience.
But EEOC adduces no evidence that any supply chain
                                                                     4. Benefits from RockAuto
managers were hired at more than the minimum rate of pay.
                                                                  The parties agree that McKewen is entitled to the value
EEOC says that RockAuto's offer letter to comparator Alison
                                                                  of the benefits that McKewen would have received from
Widner, who applied while she was still in college, shows
                                                                  RockAuto had he been hired. Both sides agree that EEOC's
that “even inexperienced [supply chain managers] earned
                                                                  proposed calculation methods are appropriate in principle,
up [to] $42 per hour.” Dkt. 168, at 2. But the offer letter
                                                                  although they disagree slightly about the amount of benefits
explicitly stated that Widner's starting pay would be $31
                                                                  to which McKewen is entitled. The parties divide the lost
per hour; it said only that supply chain managers “have the
                                                                  benefits to which McKewen is entitled into two categories: (1)
ability to grow within the Supply Chain Manager role and pay


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legally required benefit payments that RockAuto would have          for McKewen on this point, so the court will resolve the
paid on McKewen's behalf toward Social Security, Medicare,          ambiguity in McKewen's favor by using RockAuto's figures.
federal and state unemployment insurance, and workers’
compensation; and (2) payments that RockAuto would                   *5 For 2016, McKewen would have received one month of
have made toward McKewen's health-insurance premiums.               contributions, or $118.84. For 2017, McKewen would have
Although other calculation methods might better approximate         received 12 months of contributions at $120.36 per month, or
the value of McKewen's lost benefits, see, e.g., Barnes v. State    $1,444.32. And for 2018, McKewen would have received 11
of Wis. Dep't of Corr., No. 18-cv-105-jdp, 2020 WL 94799,           months of contributions at $127.44 per month, or $1,401.84.
at *3–4 (W.D. Wis. Jan. 8, 2020) (calculating lost benefits         The total value of these contributions is $2,965.
on plaintiff's actual replacement costs or expenses, not on
what employer would have paid), both sides propose the same         At this point in the tabulation, McKewen is entitled to
calculation methods, so the court will apply those methods.         $143,920 in lost wages, $10,650.08 in lost legally required
                                                                    benefit payments, and $2,965 in lost premium contributions,
As for the legally required benefit payments, both parties rely     a total of $157,535.08 in back pay.
on the same June 2018 publication from the United States
Bureau of Labor Statistics.1 The publication states that as of
                                                                      5. McKewen's earnings and benefits at Milwaukee
March 2018, employers paid an average of 7.3 percent of
                                                                      Electronics
wages for workers overall toward these benefit programs, and
                                                                    The parties agree that McKewen's back pay must be offset
7.4 percent of wages for sales and office workers. RockAuto
                                                                    by the value of the wages and benefits that he received from
relies on the 7.3 percent figure for workers overall, and EEOC
                                                                    Milwaukee Electronics. Both sides rely on McKewen's 2017
relies on the 7.4 percent figure for sales and office workers. In
                                                                    W-2 form from Milwaukee Electronics, Dkt. 98-8.
its summary judgment briefing, RockAuto repeatedly stressed
that the supply chain manager position had a sales focus. See,
                                                                    The parties agree that McKewen's damages should be
e.g., Dkt. 22, at 13 (RockAuto looked for direct customer-
                                                                    offset by the $44,060.94 he received in compensation
service experience, not managerial experience). So the court
                                                                    from Milwaukee Electronics, which includes $42,786.87 in
will apply the 7.4 percent figure to McKewen's $143,920
                                                                    wages and $1,274.07 in 401(k) contributions. And as with
in lost wages, which yields $10,650.08 in legally required
                                                                    McKewen's back pay, they agree that his damages should
benefits.
                                                                    be offset by: (1) a percentage of the compensation he
                                                                    received from Milwaukee Electronics to reflect the amount
As for the health-insurance premium payments that
                                                                    of Milwaukee Electronics’ legally required benefit payments;
RockAuto would have made on McKewen's behalf,
                                                                    and (2) the amount of Milwaukee Electronics’ contributions
both parties rely on an exhibit from RockAuto's 30(b)
                                                                    toward McKewen's health-insurance premiums.
(6) deposition stating that RockAuto provided a fixed
contribution toward each employee's health insurance
                                                                    As for the legally required benefit payments, both sides
premium, regardless of which plan the employee chose or
                                                                    propose the same percentages as above. The court will again
how many family members were covered.2 According to the             use the 7.4 percent figure for sales and office workers. This
document, the monthly premium contributions for 2017 were           yields an offset of $3,260.51.
$118.84, the 2018 contributions were $120.36, and the 2019
contributions were $127.44. The document does not state the         As for the health-insurance premium contributions, the parties
monthly premium contribution for 2016. EEOC estimates the           dispute the amount that Milwaukee Electronics contributed.
2016 contribution by assuming that RockAuto increased its           Box 12b of McKewen's W-2 indicates with code DD that
contribution by the same percentage from 2016 to 2017 as it         the total cost of his employer-sponsored health coverage
did from 2017 to 2018. RockAuto doesn't explicitly address
                                                                    was $7,241.02.3 Internal Revenue Service guidance on code
the issue, but it appears to assume that the document simply
                                                                    DD states that “the amount reported should include both
states the wrong years—in other words, RockAuto uses the
                                                                    the portion paid by the employer and the portion paid
stated 2017 figure for 2016, the stated 2018 figure for 2017,
and the stated 2019 figure for 2018. In any event, RockAuto's       by the employee.”4 Nevertheless, RockAuto contends that
proposed damages calculation yields slightly higher damages         McKewen's damages should be offset by the full cost of
                                                                    McKewen's health coverage for two reasons: (1) EEOC failed


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to provide a computation of McKewen's damages before trial;        provision allows the court to award reinstatement or front pay
and (2) this figure likely understates the value of the benefits   (that is, future lost wages and benefits), so the court will do
McKewen received from Milwaukee Electronics because he             the same. See Barton, 662 F.3d at 454 (open question whether
testified at his deposition that he also received dental and       ADEA allows front pay, but reasoning in Supreme Court Title
vision insurance. But the court addressed the first reason at      VII case “suggests that front pay is an available equitable
the final pretrial conference, declining to sanction EEOC for      remedy under the ADEA in the right circumstances, in lieu
failing to compute damages and urging the parties to confer        of reinstatement, just as it is under Title VII”) (citing Pollard
and stipulate to the value of McKewen's benefits. As for the       v. E.I. du Pont de Nemours & Co., 532 U.S. 843 (2001)).
second reason, IRS guidance states that the value of dental        Although McKewen testified at trial that he would accept a
and vision insurance may be included in box 12b under code         position with RockAuto if it were offered, EEOC contends
DD.5 RockAuto hasn't adduced any evidence that Milwaukee           that reinstatement is not feasible. Instead, EEOC seeks front
Electronics did not include the value of McKewen's dental          pay for McKewen for a period of four years from the date
and vision insurance in this figure.                               of the judgment. In support of this request, EEOC says only
                                                                   that four years “is a reasonably certain period during which
RockAuto hasn't offered a good reason to assume that               McKewen could have been expected to continue to work at
Milwaukee Electronics paid the full cost of McKewen's              RockAuto, given his testimony that he wishes to continue
health coverage. Based on the available evidence, and              to work but gave up applying for jobs because he stopped
bearing in mind the principle that ambiguities should              receiving any responses.” Dkt. 163, at 11.
be resolved against RockAuto, the court concludes that
EEOC's proposed calculation method is the best way to              As with back pay, the purpose of front pay (or reinstatement)
estimate the value of what Milwaukee Electronics paid              is to make McKewen whole for the discrimination he has
toward McKewen's health coverage. EEOC's calculation               suffered. Pollard, 532 U.S. at 851. Such relief is awarded
method treats the health-insurance premium contributions           under the district court's discretion. Hybert v. Hearst Corp.,
as a percentage of his compensation (not including legally         900 F.2d 1050, 1056 (7th Cir. 1990). It is difficult to square
required benefits), assuming that Milwaukee Electronics            EEOC's request for front pay with its limited request for back
and RockAuto would have paid the same percentage of                pay, as EEOC seeks no damages whatsoever for the period
compensation toward McKewen's health coverage. For 2017,           between November 21, 2018, and the judgment. In other
the year that McKewen was employed by Milwaukee                    words, EEOC appears to believe that McKewen would be
Electronics, McKewen is entitled to $71,480 in compensation        made whole regarding back pay with an award of damages
from RockAuto. The $1,444.32 in premium contributions              through the end of his job search; EEOC doesn't explain
to which he is entitled for that year is about 2.02 percent        why forward-looking relief would be appropriate under these
of his compensation. Applying the same 2.02 percentage to          circumstances.
McKewen's $44,060.94 in compensation from Milwaukee
Electronics yields $890.03, so the court will offset his           The court concludes that neither front pay nor reinstatement
damages by that amount to reflect Milwaukee Electronics’           is required to make McKewen whole, so the court will decline
health-insurance premium contributions.                            to order either remedy.


 *6 McKewen's $157,535.08 in back pay will be offset by
                                                                   C. Prejudgment interest
the $44,060.94 he received from Milwaukee Electronics in
                                                                   The decision to award interest is a matter within the district
compensation, the $3,260.51 he received in legally required
                                                                   court's discretion, but it is presumptively available for
benefits, and the $890.03 he received in health coverage
                                                                   violations of federal law. Pickett v. Sheridan Health Care Ctr.,
contributions, a total offset of $48.211.48. This yields an
                                                                   813 F.3d 640, 646 (7th Cir. 2016). The parties agree that
adjusted back-pay award of $109,323.60.
                                                                   McKewen should receive simple interest of four percent per
                                                                   year, calculated on an annual basis. So the court will award
B. Front pay                                                       McKewen $13,883.73 in prejudgment interest through June 1,
The ADEA allows the court to award “such legal or equitable        2021, with additional interest accruing at $364.41 per month
relief as may be appropriate to effectuate the purposes of this    through the date of this order, for a total prejudgment interest
chapter.” 29 U.S.C. § 626(b). Both sides assume that this          award of $14,612.55.



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D. Permanent injunction                                             c. RockAuto shall maintain copies of any age
EEOC also asks the court to issue a permanent injunction              discrimination complaints, internal investigations,
against RockAuto under the ADEA's authorization of                    and related records for the duration of the Court's
equitable relief, 29 U.S.C. § 626(b). Before granting EEOC's          Order, and longer if required by the governing
request for an injunction, the court must consider whether            recordkeeping regulations.
RockAuto's “discriminatory conduct could possibly persist in
the future.” E.E.O.C. v. AutoZone, Inc., 707 F.3d 824, 842 (7th   3. Implementation of anti-discrimination training
Cir. 2013) (quoting Bruso v. United Airlines, Inc., 239 F.3d
                                                                    a. Within ninety (90) days of the entry of the
848, 864 (7th Cir. 2001)).
                                                                      Court's Order, RockAuto shall provide all employees
                                                                      involved in hiring decisions, including all individuals
 *7 As an initial matter, RockAuto contends that EEOC's
                                                                      who review applications, participate in interviews,
request for injunctive relief is moot unless McKewen
                                                                      or hold any decision-making authority with regard
is reinstated. But the cases on which RockAuto relies
                                                                      to hiring, with at least one (1) hour of training on
involve individual plaintiffs, not EEOC. See, e.g., Tennes
                                                                      the ADEA and RockAuto's anti-discrimination policy
v. Mass. Dep't of Revenue, 944 F.2d 372, 382 (7th Cir.
                                                                      to be conducted either in-person or by live video
1991). Unlike an individual plaintiff, EEOC may “seek
                                                                      conferencing.
relief on behalf of individuals beyond the charging parties
who are identified during the investigation.” E.E.O.C. v.           b. RockAuto shall provide this training once per year for
United Parcel Serv., 94 F.3d 314, 318 (7th Cir. 1996).                 the duration of the Court's Order.
“[I]njunctive relief is appropriate even where the [EEOC]
has produced no evidence of discrimination going beyond             c. RockAuto shall provide EEOC with the name and
the particular claimant's case.” Ilona of Hungary, 108 F.3d            qualifications of the person administering the training
at 1578. EEOC proved at trial that RockAuto discriminated              and the proposed training materials at least thirty (30)
against McKewen on the basis of age, so EEOC is entitled               days before each administration of the training.
to injunctive relief “unless [RockAuto] can show that
                                                                    d. RockAuto shall provide EEOC with a certification
[McKewen's] case is somehow different from the norm.”
                                                                       listing the individuals who attended the training,
AutoZone, 707 F.3d at 840–41 (internal quotation marks
                                                                       including names and titles, within seven (7) days after
omitted).
                                                                       each administration of the training.
EEOC requests injunctive relief in four categories for a period   4. Assurance of compliance
of three years:
                                                                    a. The Court's injunction shall be for three (3) years.
  1. Prohibition on age discrimination in hiring
                                                                    b. Each year, on the anniversary of the entry of
  RockAuto shall not take the age of an applicant into                this Order, RockAuto shall file a certificate of
  consideration during its hiring process, or otherwise               compliance with the injunction. If RockAuto has not
  discriminate against applicants on the basis of their age.          fully complied with one or more provisions of the
                                                                      Order, the signatory of the report shall indicate what
  2. Adoption of anti-discrimination policy
                                                                      shortcomings have occurred and shall outline a plan
     a. RockAuto shall adopt an anti-discrimination policy            to assure immediate compliance.
        that prohibits age discrimination in its hiring process
                                                                    c. EEOC will give RockAuto fourteen (14) days’ notice
        and establishes a procedure to receive and investigate
                                                                       of any alleged noncompliance with the terms of this
        complaints of discrimination.
                                                                       Order before initiating enforcement actions under
     b. RockAuto shall provide a copy of such policy to                it. If RockAuto has not remedied the alleged non-
        EEOC within thirty (30) days of the entry of the               compliance or has not satisfied the EEOC that it has
        Court's order.                                                 complied with the Decree at the end of that period, the
                                                                       EEOC may apply to the Court for appropriate relief.
                                                                       These dispute resolution proceedings do not apply to


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       those cases where there is a need to seek immediate or      A proposed form of injunction is attached to this opinion and
       other extraordinary relief from the Court.                  order. The parties have 14 days to submit any objections to
Dkt. 163, at 15–18.                                                the form of the order for injunction. After considering any
                                                                   objections, the court has will enter the injunction in a separate
EEOC's first category of relief, as drafted, requires RockAuto     document as required under Rule 65 of the Federal Rules of
to obey the law regarding age discrimination. Such requests        Civil Procedure.
are generally disfavored as overly broad and vague.
AutoZone, 707 F.3d at 841 (collecting cases). These “concerns
are rooted in basic principles of due process” because
                                                                   ORDER
such injunctions subject defendants to contempt proceedings
for conduct that is unrelated to the litigation and that is        IT IS ORDERED that
defined in indefinite terms. Id. at 842. The court will revise
the proposed first category of relief to include only the            1. Glenn McKewen is awarded $109,323.60 in back pay
substantive component.                                                  and $14,612.55 in prejudgment interest.

                                                                     2. Plaintiff Equal Employment Opportunity Commission's
 *8 The EEOC's remaining categories of injunctive relief
                                                                        request for injunctive relief, Dkt. 163, is GRANTED.
are specific and directly related to the conduct at issue
in this lawsuit. RockAuto offers no objections to any of             3. A proposed injunction is attached; the parties have 14
EEOC's specific requests. It makes the general objection that           days to submit any objections to the proposed injunction.
a permanent injunction is unnecessary because RockAuto
“already prohibits discrimination, includes a link to the ‘Equal
Opportunity is the Law’ poster ... on its employee Wiki, and
is willing to provide more training to its human resource          PROPOSED PERMANENT INJUNCTION
professionals related to anti-discrimination laws.” Dkt. 169,
                                                                   Plaintiff Equal Employment Opportunity Commission proved
at 13–14. RockAuto also says that it has stopped asking
                                                                   at trial that defendant RockAuto, LLC discriminated against
applicants for their graduation years.
                                                                   charging party Glenn McKewen on the basis of age in
                                                                   violation of the Age Discrimination in Employment Act
The court is not persuaded that RockAuto has
                                                                   (ADEA). The discrimination occurred despite RockAuto
already adequately remediated its age discrimination
                                                                   having adopted a non-discrimination policy.
problem without an injunction. RockAuto already had a
nominal nondiscrimination policy when RockAuto rejected
                                                                   The court finds that a permanent injunction is necessary to
McKewen's application. RockAuto employee Catherine
                                                                   ensure that RockAuto complies with the ADEA, and does
Cahoon testified at trial that RockAuto included a link
                                                                   not take the age of an applicant into consideration during the
to generic nondiscrimination information in its employee
                                                                   hiring process or otherwise discriminate against applicants or
handbook, and she said that she already knew that it is illegal
                                                                   employees on the basis of age.
to discriminate against an applicant on the basis of age. Dkt.
158, at 26:11–22. And even if RockAuto has stopped asking
                                                                   Accordingly, IT IS ORDERED that defendant RockAuto,
applicants for their graduation years, it's likely that most
                                                                   LLC, is permanently ENJOINED as follows:
applicants would voluntarily include that information on their
resumes, an assumption that is supported by the numerous             1. Prohibition on age discrimination in hiring
applications the court has reviewed in this case. RockAuto
says that it is willing to voluntarily provide unspecified              a. RockAuto shall not take the age of an applicant into
antidiscrimination training to its employees. But a vague                  consideration during its hiring process.
promise to provide some additional training in the future is
not enough to meet RockAuto's burden to show that it will            2. Adoption of anti-discrimination policy
not continue to discriminate without an injunction, AutoZone,
                                                                        a. RockAuto shall adopt an anti-discrimination policy
707 F.3d at 840–41. The court will grant EEOC's request for
                                                                           that prohibits age discrimination in its hiring process
injunctive relief, substantially in the form proposed by EEOC.
                                                                           and establishes a procedure to receive and investigate
                                                                           complaints of discrimination.


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      b. RockAuto shall provide a copy of its policy to EEOC            d. RockAuto shall provide EEOC with a certification
         within 30 days of the entry of the court's order. EEOC            listing the individuals who attended the training,
         must inform RockAuto of its objections to the policy,             including names and titles, within seven days after
         if any, within 14 days. If EEOC and RockAuto are                  each administration of the training.
         unable to resolve any objections to the policy, the
         parties must submit their positions to the court within      4. Assurance of compliance
         14 days of EEOC's objection.
                                                                        a. Within 14 days of entry of this injunction, RockAuto
       *9 c. Within 14 days of resolution of any objections,               must provide a copy of this injunction to its members,
        or within 14 days of the expiration of the objection               officers, and employees.
        period, RockAuto must provide a written copy of
        its anti-discrimination policy to each of its members,          b. The term of this injunction shall be for three years
        officers, and employees.                                           from the date of entry.

      d. RockAuto shall maintain copies of any age                      c. Each year, on the anniversary of the entry of this
        discrimination complaints, internal investigations,                order, RockAuto shall file with the court a certificate
        and related records for the duration of this order                 of compliance with the injunction. If RockAuto has
        (or longer if required by any other recordkeeping                  not fully complied with one or more provisions of this
        regulation).                                                       order, the signatory of the report shall indicate what
                                                                           shortcomings have occurred and shall outline a plan
    3. Implementation of anti-discrimination training                      to assure immediate compliance.

      a. Within 90 days of the entry of this order,                     d. EEOC will give RockAuto 14 days’ notice of
        RockAuto shall provide all employees involved                     any alleged noncompliance with the terms of this
        in hiring decisions, including all individuals who                order before initiating enforcement actions under
        review applications, participate in interviews, or                it. If RockAuto has not remedied the alleged
        hold any decision-making authority with regard to                 noncompliance or has not satisfied the EEOC that it
        hiring, with at least one hour of training on the                 has complied with this order at the end of that period,
        ADEA and RockAuto's anti-discrimination policy                    the EEOC may apply to the court for appropriate
        to be conducted either in-person or by live video                 relief.
        conferencing.
                                                                        e. These dispute resolution proceedings do not prevent
      b. RockAuto shall provide this training once per year for            the EEOC from seeking immediate relief from the
         the duration of this order.                                       court for egregious violations of the injunction.

      c. RockAuto shall provide EEOC with the name and
         qualifications of the person administering the training    All Citations
         and the proposed training materials at least thirty days
         before each administration of the training.                Slip Copy, 2021 WL 3487668


Footnotes
1       Bureau of Labor Statistics, News Release 4 (June 8, 2018), https://www.bls.gov/news.release/archives/
        ecec_06082018.pdf.
2       This document was not filed on the docket, but EEOC submitted it as trial exhibit 71. See Dkt. 127, at 8.
3       See Internal Revenue Service, General Instructions for Forms W-2 and W-3 20 (2017), https://www.irs.gov/pub/irs-prior/
        iw2w3--2017.pdf (defining code DD).
4       Internal Revenue Service, Form W-2 Reporting of Employer-Sponsored Health Coverage, https://www.irs.gov/affordable-
        care-act/form-w-2-reporting-of-employer-sponsored-health-coverage (last accessed August 3, 2021).
5       See id.




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